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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRIAN THOMPSON

Plaintiff,

-V- : CIVIL ACTION No.: 23-CV-04742-PD
MOHAMED SAFA (Sergeant) : JURY TRIAL DEMAND

Defendant.

AMENDED COMPLAINT

Plaintiff, Brian Thompson, by and for his complaint against the Defendant, alleges upon

information and belief, except as to facts and matter that related to Plaintiff, which are alleged

herein upon knowledge, as follows:

|. VERIFICATION STATEMENT

|, Brian Thompson, Plaintiff Pro Se', have read the foregoing Amendend Complaint and

hereby verify that the matters alleged herein are true, except to those matters alleged upon
information and belief, and to those matters | believe to be true. | certify under the penalty of

perjury that the foregoing is true and correct pursuant to 28 U.S.C. §1746.

Il INCLUSION STATEMENT

1. Plaintiff hereby files this Amended Complaint, and incorporates herein all previously
docketed complaints, exhibits, affidavits, depositions, pleadings, answers to interrogatories,

and admissions as if set more fully in length below.

Il, JURISDICITON AND VENUE

2. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1331 in that this is a civil

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action arising under the Constitution of the United States.

3. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1343 in that this action
seeks to redress the deprivation, under color of state law, of rights secured by Acts of Congress
providing for equal rights of persons within the jurisdiction of the United States.

4. Plaintiff seeks declaratory relief pursuant to 28 U.S.C. §§2201 and 2202. Plaintiff's
claims for injunctive relief are authorized by 28 U.S.C. §§2283 and 2284, and Fed. R. Civ. P. 65.

5. The United States District Court of Pennsylvania is an appropriate venue under 28
U.S.C. §1391(b)(2) because it is where a substantial part of the events and omissions giving rise
of this claim occurred.

6. The Court has supplemental jurisdiction over the Plaintiff's state law tort claims
under 28 U.S.C. §1369.

7. All the discriminatory practices alleged herein were committed within the

Commonwealth of Pennsylvania.

IV. PARTIES

8. Plaintiff, Brian Thompson/JQ-0773, (hereinafter Plaintiff"), is a citizen of
Pennsylvania, resides in the County of Montgomery, has a primary mailing address (for court)
of: 1200 Mokychic Dr., Collegeville, PA 19426 and a secondary mailing address (for defendants)
of: Brian Thompson/JQ-0773, SCI-PHX, P.O. Box 33028, St. Petersburg, FL 33733.

9. Defendant, Mohamed Safa (hereinafter "defendant Safa"), is an employee of the
Pennsylvania Department of Corrections (PADOC), with an employment address of: 1200
Mokychic Dr., Collegeville, PA 19426.

10. Defendant Safa, at all times mentioned herein and relative hereto, was in a fiduciary
relationship with Plaintiff, for a period of time, including the time of the occurrences as
described hereinafter.

11. Defendant Safa is and was constitutionally and statutorily responsible for the
maintenance, conditions, operation, practices, customs, patterns, usages, and totality of

conditions of the PADOC housing unit where Plaintiff resides.

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29. On April 3, 2023, Plaintiff filed a grievance (#1027496), as a result of defendant Safa
removing him from work detail. (See Exhibit "A" attached herein).

30. Plaintiff avers defendant Safa retaliated against Plaintiff for the requesting of, and
the subsequent filing of said grievance.

31. Plaintiff avers in the body of said grievance that defendant Safa fired Plaintiff as a
Block Worker for the filing of said grievance, which caused Plaintiff's name, numer, picture, and
hours to be removed from the Block Worker list.

32. Plaintiff avers, during the length of his employment as a Block Worker, consistently
worked on his days off and nobody gave Plaintiff any justification, due process, and/or reason
why Plaintiff's name, number, picture, and work hours were removed from the Block Worker
list. If Plaintiff was in fact still employed as a Block Worker, and not fired for the filing of said
grievance, he was not entitled to work with the other Block Workers, after the filing of said
grievance.

33. On April 19, 2023, Lieutenant McCafferty issued an Initial Reply to Grievance #
1027496.

34. For the purpose of exhibiting defendant Safa's whitewashing of his malfeasance,
Plaintiff avers that Initial Review Respondent Lieutenant McCafferty responded to Plaintiff's
allegations by stating Plaintiff was not fired, but rather there was a rotation of workers due to
the amount of workers, and it will allow Plaintiff to have his days off. Lieutenant McCafferty
also stated Plaintiff attempted to sit at the table, and that Plaintiff would be utilized in a more
"limited capacity." (See Exhibit "B" attached herein).

35. For the purpose of exhibiting Deputy Chief Grievance Officer Ms. Moore's desire to
acquiesce in the whitewashing of defendant Safa's malfeasance, Ms. Moore falsely claimed
"you and other block workers are rotated so to allow you your days off," and that "there is no
evidence of retaliation." Ms. Moore, also stated, "records reflect workers are rotated."

36. Plaintiff avers that the above assertions by both Lieutenant McCafferty and Deputy
Chief Grievance Officer Ms. Moore are not true, but designed to dispose of Plaintiff's grievance

without redress.

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37. Plaintiff avers that the above statements were a pretext for the removal of Plaintiff
from his job in his previous position, and that he never attempted to sit at the table, and that
this statement is an attempt to whitewash/justify defendant Safa's firing Plaintiff for filing a
grievance against him. Plaintiff avers the security cameras on the housing unit do not show
Plaintiff sitting at a table.

38. Plaintiff avers that he was the only Block Worker who's name, picture, number,
hours, and cell number was taken out of the workers log book and/or purportedly rotated.

39. Plaintiff requested that the video surveillance footage be preserved in Grievance #
1027496 to demonstrate that the statement made by Lieutenant McCafferty and by Deputy
Chief Grievance Officer Ms. Moore, as contrived by defendant Safa, were actually false.

40. Plaintiff avers that only after Plaintiff filed a grievance on defendant Safa, did all the

above adverse actions take place and other incidents occurred.

B. Retaliation.

41. Susequent to the above incident, Plaintiff learned that as a result of Plaintiff filing
the above-mentioned grievance, defendant Safa submitted a negative work report - in
furtherance of his scheme to retaliate against Plaintiff .- for the filing of the above-mentioned
grievance.

42. On April 26, 2023, Plaintiff was seen by Unit Counselor Ms. Roulhac, who checked
Plaintiff's work file and informed Plaintiff, "| have your work report dated April 20, 2023, and
Sergeant Safa gave you a negative work report."

43. Plaintiff avers that he requested a copy of said negative work report from Unit
Counselor Ms. Roulhac and was told that she could not give Plaintiff a copy of said negative
work report, and that Plaintiff should ask Unit Manager Ms. Baldwin.

44. On April 27, 2023, Plaintiff spoke with Unit Manager. Ms. Baldwin and requested a
copy of the negative work report by Sergeant Safa dated April 20, 2023. Unit Manager Ms.

Baldwin stated she would not provide Plaintiff with a copy of said negative work report and

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that Plaintiff would need to speak directly to Sergeant Safa.

45. Plaintiff avers that the above statements made by Unit Counselor Ms. Roulhac and
Unit Manager Ms. Baldwin - as the direct supervisors of defendant Safa - are circumstantial
evidence of the Unit Management team's desire to cover-up and whitewash defendant Safa's
malfeasance.

46. On May 1, 2023, Plaintiff filed Grievance #1032183. (See Exhibit "C" attached
herein).

47. Plaintiff avers that within said grievance, Plaintiff stated defendant Safa gave hima
negative work report because Plaintiff filed grievances on him and it was done out of
retaliation.

48. Plaintiff avers that defendant Safa knows Plaintiff has commutation papers in, and
that Plaintiff had never received a negative work report in over eighteen years, and that the
timing of the negative work report is indicative of retaliation.

49. Plaintiff avers that defendant Safa never filed a negative work report prior to
Plaintiff filing a grievance against him.

50. Plaintiff avers that if defendant Safa believed Plaintiff's work ethic was sub-par,
Plaintiff would not have been allowed to work on his days off for more than eighteen years.
Also worth noting, in the Facility Manager's Response to Grievance #1027496, it was stated
that, "Your not allowed to work on your days off." However, Plaintiff avers that he had done so
for many years without. comment by defendant Safa or other staff members, due to the
shortage of workers on the block.

51. For the purpose of displaying defendant Safa's. whitewashing of his own
malfeasance, Plaintiff avers that Initial Review Respondent Captain K. Young responded to
Plaintiff's allegations by stating the same lie as he did in his previous Initial Review Response to
Grievance #1029617, "Staff do not retaliate against inmates for filing grievances.” (See Exhibit
"D" attached herein).

52. Plaintiff avers that Captain K. Young, also stated he spoke with Unit Counselor Ms.

Roulhac and Unit Manager Ms. Baldwin and that they told Plaintiff to wait for a copy of the

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negative work report, because they wanted to hold a meeting with Sergeant Safa to see why
he gave Plaintiff a negative work report.

53. For the purpose of exhibiting Deputy Chief Grievance Officer Ms. Moore's desire to
acquiesce in the whitewashing of defendant Safa's malfeasance, Ms. Moore claimed Unit
Manager Ms. Baldwin and Unit Counselor Ms. Roulhac wanted to speak with defendant Safa
regarding the negative work report he filed.

54. On or about the week of August 7th or 14th, Plaintiff spoke to Unit Counselor. Ms.
Tremble, and requested a copy of the negative work report issued by defendant Safa dated

April 20, 2023 and Unit Counselor Ms. Tremble denied said request.

C. Cruel and Unusual Punishments; Failure to Protect; Zone of Danger.

55. On April 3, 2023, as side-yard was coming back onto the housing unit, Plaintiff's
cellmate, Joel Muir/#GB3985, heard defendant Safa say to inmate Michael Ortiz/#HQN8741:
"Those guys in #2027 (Plaintiff's cell), are rats; they filed grievances on me."

56. Plaintiff avers that defendant Safa said this to inmate Michael Ortiz/#QN8741, with
the intent and purpose of causing Plaintiff and his cellmate Joel Muir/#GB3985, physical harm.
(See Exhibit "E" attached herein).

57. Plaintiff avers defendant Safa was not acting within the scope of his employment
duties when he relayed false and defamatory information to other inmates about Plaintiff.
Defendant Safa is not eligible for any immunity as the false statements were made outside of
the context of his job description and duties, and were in violation of the PADOC's own rules,
policies, and ethical standards.

58. On April 15, 2023, Plaintiff filed Grievance #1029617, for the above-referenced
statements as made by defendant Safa to Michael Ortiz/#QN8741 and placing Plaintiff's
persons in a zone of danger created by defendant Safa's statements. (See Exhibit "F" attached
herein).

59. On May 12, 2023, Captain K. Young issued the Initial Review Response to Plaintiff's

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Grievance.

60. For the purpose of exhibiting defendant Safa's whitewashing of his malfeasance,
Plaintiff avers Captain Young stated: "inmates are not retaliated against for filing grievances."
Captain Young also stated "there is no evidence to substantiate your allegations about the
statements you said SGT. Safa made about you or your cellmate."” Plaintiff avers that this
response on it's face is ludacris and the averments given by inmate Michael Ortiz/#QN8741
directly contradicts Captain Young.

61. Plaintiff believes, and therefore avers, that Captain Young provided no investigation
as stated in the Initial Review of Grievance #1029617, only provided boilerplate language in
response to Plaintiff, as is Standard Operating Procedure at SCI-Phoenix.

62. In addition to the above, Initial Review Respondent Captain Young never spoke to
any of the prisoners Plaintiff mentioned in Grievance #1029617 who overheard and/or were
the recipients of the statements made by defendant Safa.

63. For the purpose of exhibiting Deputy Chief Grievance Officer Ms. Moore's desire to
acquiesce in Captain Young's whitewashing of defendant Safa's malfeasance, Ms. Moore
directly acquiesced in the malfeasance by claiming: "you do not indicate this [calling Plaintiff a
rat] harmed you."

64. Plaintiff avers that such a statement in a prison setting is conductive to assault and
violence, the threat of injury is obvious and known to Ms. Moore who has worked in a prison
setting for many years.

65. Plaintiff avers that this was a violation of PADOC policy and Code of Ethics §(B)(1),
thus it is ipso facto presumed that.an injury had occurred.

66. Moreover, Plaintiff stated on page two of Grievance #1029617 that defendant Safa
called him and his cellmate Joel Muir/#GB3985 a rat for filing a grievance and this malfeasance
not only violated PADOC's own policy, but also endangered Plaintiff's care, custody, control,
security, well-being, health, and safety by knowingly subjecting Plaintiff to foreseeable physical
bodily injury by way of assault to his persons.

67. Plaintiff believes, and therefore avers, defendant Safa's intent was to have Plaintiff

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placed in a state-created zone of danger and facilitate an assault on Plaintif by other inmates.

68. Plaintiff believes, and therefore avers, defendant Safa intentionally encouraged and
sought to facilitate an assault on Plaintiff by tagging Plaintiff as a rat to another inmate.

69. Plaintiff believes, and therefore avers, that defendant Safa - having many years of
experience in corrections - knew and/or should have known that tagging Plaintiff a prisoner as
a rat could have and would have resulted in that prisoner being assaulted by other prisoners.

70. Plaintiff believes, and therefore avers, defendant Safa's conduct did not occur in his
official capacity and that defendant Safa's independent acts of misconduct clearly rise to the
level of various torts and crimes of inter alia, facilitating assault, breach of fidicuary duty, and
negligence.

71. Plaintiff believes, and therefore avers, defendant Safa's acts as an employee of the
Commonwealth of Pennsylvania and the Pennsylvania Department of Corrections, caused the
injury to the Plaintiff and that such acts constituted crimes, actual fraud, actual malice and/or

willful misconduct, in violation of the provisions of 42 Pa. C.S. § 8550.

D. Creating unsafe and dangerous artificial conditions on Commonwealth Property.

72. As a result of the inadequate, unsafe and dangerous conditions created and
maintained by defendant Safa on the housing unit, Plaintiff was placed in an artificially unsafe
condition on the real estate of the Commonwealth of Pennsylvania.

73. These dangerous. and unsafe conditions. described herein have created a
foreseeable dangerous condition for Plaintiff - a discrete individual - and was foreseeable that
Plaintiff would be physically harmed by defendant's conduct. The defendant knew of these
dangerous, unsafe conditions due to Plaintiff's grievances, but chose to do nothing to address
the problem.

74. In addition to being notified of several incidents of violence, representatives of the
defendant met with the Plaintiff and advised that no such condition existed.

75. As a result of the defendant's failures, the Plaintiff formally placed the defendant on

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notice of their foreseeable damages.

76. Defendant Safa generally has protection of sovereign immunity set forth in the
Political Subdivision Torts Claim Act. 42 Pa.C.S.A. §8541.

77. As set forth in the exceptions enumerated in 42 Pa.C.S.A. §8542, defendant Safa

may be sued and is liable for:

(3) Real property. — The care, custody or control of real property in the possession of
the local agency, except that the local agency shall not be liable for damages on account
of any injury sustained by a person intentionally trespassing on real property in the

possession of the local agency.
42 Pa.C.S.A. §8542(b)(3).

78. Defendant Safa generally has. protection of sovereign immunity. set forth in
42 Pa.C.S.A. §8521.
79. As set forth in the exceptions enumerated in 42 Pa.C.S.A. §8522, defendant Safa

may be sued and is liable for:

(4) Commonwealth real estate, highways and sidewalks. —. A dangerous condition of
Commonwealth agency real estate and sidewalks, including Commonwealth-owned real
property, leaseholds in. the possession of a Commonwealth agency and
Commonwealth-owned real property leased by a Commonwealth agency to private
persons, and highways under the jurisdiction of a Commonwealth agency, except

conditions described in paragraph (5).

42 Pa.C.S.A. §8522(b)(4); Cf. 42 Pa.C.S.A. §§ 8542(a)(2), 8550 (an employee of a local agency

enjoys no official immunity from liability for injuries arising from wilful misconduct).

80. These exceptions are applicable to the facts in this case because the series of events
herein stem from the care, custody and control of Plaintiff's persons.

81. Furthermore, these exceptions are applicable to the facts in this case because a

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dangerous condition existed as a result of defendant's behavior in the creation of an artifically
dangerous condition on the real estate of the SCI-PHX facility. Such dangerous conditions were
likely to cause issues to other individuals, and in fact did cause issues for numerous individuals,
on multiple occassions. Moreover, the defendant was specifically made aware of the problem,
was responsible for the housing unit, and nothing has been done to date to rectify the issue.

82. The defendant has engaged in a course of conduct which has caused and/or
permitted severe, extensive and permanent damage to the Plaintiff's persons in that the
defendant has, for a substantial period of time, knowingly maintained and operated the public
property in such a state of disrepair as to cause and permit permanent damage to the Plaintiff
and other individuals using their public property, all of which has continued to the present time
and which has deprived Plaintiff of the lawful use and enjoyment of their property.

83. All of the matters hereinabove set forth occurred because of the negligence,
carelessness, and recklessness, and unlawful and improper actions of the defendant Safa in
knowingly failing and refusing to design proper safety precautions so as to properly allow
public access to the facilities, in knowingly refusing to maintain and repair and refusing to
adhere to their responsibilities under the laws of the Commonwealth of Pennsylvania, in
properly staffing the housing unit and knowingly failing and refusing to prevent serious risk of
bodily harm to Plaintiff, in knowingly failing and refusing to prevent the conditions and matters
hereinabove set forth, and in knowingly failing and refusing to provide an adequate remedy.

84. It is believed and, therefore, averred that defendant. Safa was further. careless,
reckless, and negligent in operating the scheduling of staff without adequate training, ethical
standards, and psychological evaluations, which caused the harm to Plaintiff.

85. As.a result of the negligence, carelessness, recklessness, and improper.and unlawful
conduct of the defendants, the Plaintiff has sustained severe and permanent damage in the

following particulars:

(a) Plaintiff has been adversely affected by the severe and nauseous conduct of the
defendant that were disturbing, oppressive, intolerable, and unhealthy;

(b) The peaceful, quiet and healthful enjoyment of Plaintiff has been interfered with

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and destroyed; and

(c) Plaintiff has been or will be compelled and required to spend large sums of money
to attempt to alleviate the problems caused by the defendant;

86. The defendant has failed and/or refused to properly maintain security on the
housing unit as to prevent further violent flair-ups, despite prior notice and knowledge of the
same.

87. Plaintiff has demanded that the defendant properly maintain the housing and
prevent further potential acts of violence by, at a minimum, provide appropriate training to
staff for the care, custody, control, safety, security, and well-being of inmates; however, the
defendant has refused or failed to make such changes.

88. The matters hereinabove set forth causing severe and irreparable damage and harm
to the Plaintiff, including the increased potential for future harm, constitutes a nuisance of an
intolerable nature.

89. As a direct result of the matters herein set forth, Plaintiff's care, custody, control,
security, and well-being have been compromised and, further, in the event that repairs and
replacements and corrections are made to the housing unit in an attempt to place Plaintiff in
the position he was prior to the incidents described herein brought about by the negligent,
careless, and reckless conduct, and improper and unlawful actions of the defendant, Plaintiff
has sustained in the meantime suffered a real loss.

90. The defendant has failed and/or refused to discharge his responsibilities under law
and in a manner consistent with the rights of the Plaintiff.

91. Plaintiff has in no manner contributed to the causes of the said matters herein
complained of, and are not permitted by law to resolve the issue and place a properly trained
guard within the housing unit and/or otherwise prevent the problems and damages described
herein.

92. All of the matters complained of have been, and continue to be caused by the
negligent, careless, reckless, improper and unlawful actions of the defendant Safa, as set forth.

93. Defendant Safa, who was in the immediate care and control of Plaintiff for the

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PADOC and acting as its agent, ostensible agent, servant, employee, and/or independent
contractor, who in turn was acting within the scope of his employment and on behalf of the
PADOC, authorized Plaintiff to reside on the housing unit of the public entity.

94. Defendant Safa's superiors named herein were and have been on notice of the
potential and actual damages caused by defendant Safa in the past, and have recklessly
disregarded the same.

95. Despite Safa's superiors having prior knowledge of the situation, they recklessly,
intentionally and/or negligently have not taken or implemented any measures to resolve the
hostile housing unit environment created specifically by defendant Safa with the intent of
causing injury to the Plaintiff.

96. Plaintiff, acting in good faith, and assuming all of defendant Safa's representations
were made in good faith, agreed to be housed on the housing unit where defendant Safa was

in charge of the care, custody, control, security, and well-being of inmates.

VI. CONCLUSION

97. Plaintiff was granted all rights and privileges and tenure as provided to other Block
Workers at SCI-Phoenix.

98. Defendant Safa was acting in her official capacity as Correctional Officer II of PADOC
and, as such, the aforementioned representations and actions of defendant Safa were the
official acts of the PADOC itself.

99. Defendant Safa knew or should have known that his actions in retaliating against
Plaintiff's denied Plaintiff's constitutional rights to due process of law and therefore rendered
defendant Safa personally liable under 42 U.S.C. §1983.

100. The false filing of a negative work report against Plaintiff is violative of Plaintiff's
right to notice and hearing before any substantial deprivation of property and/or liberty by the
state of any party.

101. That the decision by defendant Safa was rendered even though Plaintiff did not

have the opportunity to cross-examine all the witnesses, and did not have the opportunity to

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present any witness, or evidence, or testify on his own behalf.

102. Defendants Safa violted Plaintiff's rights as guaranteed by the 14th Amendment
and 42 U.S.C. §1983, in that defendant Safa had terminated Plaintiff, and by such action had
arbitrarily, discriminatorily, capriciously, and illegally deprived Plaintiff of his tenured right
under implied contract to continued employment without affording to Plaintiff his right to due
process.

103. By his actions and/or omissions as described herein and throughout. this
Complaint, defendant Safa has intentionally acted ina manner which he knew or should have
known during his long-seated tenure with PADOC, would cause great emotional suffering to
Plaintiff, thus committing the tort of intentional infliction of emotional distress by extreme and
outrageous conduct, to Plaintiff's great detriment and loss.

104. When Plaintiff asked the basis for his removal from the work program, defendant
Safa refused to provide any.

105. Despite repeated efforts, defendant Safa has not provided Plaintiff with any
comparable or suitable employment.

106. Despite Defendant Safa's representations that Plaintiff would continue to receive
Block Worker liberties on the housing unit, during the next several months, there were other
inmates who received said liberties on the unit, but not to Plaintiff.

107. Plaintiff avers that the above malicious retaliatory conduct by defendant has
placed such a chill on Plaintiff's willingness to exercise his right to free speech, that Plaintiff no
longer engages in such lawful conduct in fear of further retaliation by either defendant Safa
and/or other staff members or inmates whom defendant Safa may induce to retaliate against
Plaintiff.

108. Plaintiff avers that policy and/or the department's Code of Ethics imposes a duty of
care on all prisoners while defendant Safa was operating as a Sergeant.

109. Plaintiff avers that outside any policy or Code of Ethics, a duty of care is imposed
on all PADOC personnel while acting under the color of state law.

110. Plaintiff complied with all conditions precedent in this case and exhausted all

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applicable and available administrative remedies, or they have been waived.

111. Plaintiff alleges that the grievance system is not constitutionlly adequate as it fails

to provide impartial review of issues raised, and in the following ways:

PADOC personnel review their own colleagues misconduct - this constitutes a
conflict of interest;

The PADOC maintains. a policy, custom, culture, and/or practice of always
concurring and/or adopting the colleague's version when it involves staff abuse;

The Facility Manager (Superintendent) always concurs with the Initial Review
Respondent's conclusions and/or findings into their sham investigation when the
grievance involves staff;

The PADOC's Chief Grievance Office of Inmate Appeals is an extension of the PADOC
Chief. Counsel's Office whom are charged with defending the PADOC, its agents
and/or contractors; 71 P.S. §732-402.

The PADOC fraudulently dismisses and/or. withholds Initial. Reviews, Appeal
Responses, and/or Final Appeal Review Responses so as to stymie a prisoner's ability
to exhaust administrative remedies and to prevent a prisoner from brining suit
under the guise it's still under investigation - knowing that PADOC policy or 42 U.S.C.
§1997(e)(a) - does not provide a default mechanism for PADOC violations of policy
and/or set a deadline for the issuance of Final Appeal Review Responses that are
purportedly under. investigation, thus authorized to withhold said Final Appeal

Review Responses in perpetuity.

112. Plaintiff avers that as a direct result of the above facts, Plainitff cannot obtain

impartial. review. of. his complaints, and that the Chief Grievance Office and/or. their

subordinates have contrived illegitimate methods to either dismiss and/or deny legitimate

grievances knowing a prisoner cannot disprove any contrived assertion made by a defendant,

to the contrary of Plaintiff's statements; (e.g. staff statements. contrived in absentia from

Plaintiff and/or a failure to include a document with the appeal when in fact the document was

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included.

113. Plaintiff avers that any grievances cited herein, which have been dismissed and/or
denied were done so to protect the defendant - despite Plaintiff complying with all applicable
policy requisites.

Vil, CAUSES OF ACTIONS

114. Plaintiff pleads in the alternative, and sets forth the following Cause(s) of Action(s):

COUNT | - DECLARATORY JUDGEMENT

42 U.S.C. §1983

115. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

116. Plaintiff avers that as a direct or proximate result of the acts and/or omissions of
the above named defendant, as stated elsewhere in this Complaint, Plaintiff is entitled to
Declaratory Judgment and/or any judgment in equity so allowable under any cause of action
not stated within these causes of actions, but to which the elements to such a claim has been
made out.

117. WHEREFORE, Plaintiff respectfully requests this Honorable Court to declare:

a. THAT Plaintiff's civil rights against Cruel and Unusual Punishments pursuant to
the Eighth Amendment, were violated when defendant Safa retaliated against
Plaintiff by endangering Plaintiff's health and safety by labeling Plaintiff.a "rat" to
other inmates on the housin unit due to Plaintiff's filing of grievances against
defendant;

b. THAT Plaintiff's civil right to (Free Speech) pursuant to the First Amendment, was
violated when. defendant Safa retaliated against Plaintiff by terminating his
inmate employment for filing grievances against the defendant;

c. THAT Plaintiff's civil right to (Free Speech) pursuant to the First Amendment, was
violated when defendant Safa retaliated against Plaintiff by issuing a negative
work report for filing grievances against the defendant;

d. THAT Plaintiff's civil right to (Due Process of Law) pursuant to the Fourteenth

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Amendment, was violated when defendant Safa retaliated against Plaintiff by
terminating his inmate employment for filing grievances against the defendant;

e. THAT Plaintiff's civil right to (Due Process of Law) pursuant to the Fourteenth
Amendment, was violated when defendant Safa retaliated against Plaintiff by
issuing a negative work report for filing grievances against the defendant;

f.. THAT. Plaintiff's civil right to (Equal Protection) pursuant to the Fourteenth
Amendment, was violated when defendant Safa retaliated against Plaintiff by
terminating his inmate employment for filing grievances against the defendant;

g. THAT. Plaintiff's civil right to (Equal Protection) pursuant to the Fourteenth
Amendment, was violated when defendant Safa retaliated against Plaintiff by
issuing a negative work report for filing grievances against the defendant;

h. THAT Plaintiff's civil right under policy and (Eighth Amendment) were violated. by
placing Plaintiff constant fear for his life was violated by defendant;

i. . THAT Plaintiff is entitled to the immediate removal of the negative work report,
pursuant to PADOC policy and state law;

j.. THAT Plaintiff has been unlawfully retaliated against by the defendant;

k.. THAT the policies, practices, customs, and acts of the defendant as stated
throughout this Complaint are illegal and unconstitutional;

|. THAT the defendant has subjected Plaintiff to conditions peculiar: to his
confinement and engaged in conduct which caused Plaintiff to be subjected to
the deprivation of one or more of his constitutional rights;

m. THAT the defendant violated his statutory duty to protect Plaintiff;

n.. THAT defendant violated his statutory obligation to provide adequate,
reasonable and timely care, custody, control, security, and well-being.

COUNT II - INJUNCTIVE RELIEF
42 U.S.C. §1983

118. Plaintiff repeats and re-alleges each and every allegation contained herein and

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throughout this Complaint with the same force and effect as if set forth herein at length.

119. Plaintiff avers that as a direct or proximate result of the acts and/or omissions of

the above named defendant, as stated elsewhere in this Complaint, Plaintiff is entitled to

Injunctive Relief and/or any judgment in equity so allowable under any cause of action not

stated within these causes of actions, but to which the elements to such a claim has been

made out.

120. WHEREFORE, the Plaintiff respectfully requests this Honorable Court to:

a.

Entry of a preliminary and a permanent injunction enjoining defendant, his
officers, employees, agents, and all persons acting in concert with defendant,
from violating the provisions of the Pennsylvania Department of Corrections
Code of Ethics and directing defendant to expunge the fraudulent negative work
report.

Entry of a preliminary and a permanent injunction enjoining defendant, his
officers, employees, agents, and all persons acting in concert with defendant,
from violating the provisions of the Pennsylvania Department of Corrections
Code of Ethics and directing defendant to cease the propagation of said negative
work report across the Commonwealth telecommunications systems.

Entry of.a preliminary and a permanent injunction enjoining defendant, his
officers, employees, agents, and all persons acting in concert with defendant,
from violating the provisions of the Pennsylvania Department of Corrections
Code of Ethics and directing defendant to cease the replication of said negative
work report across the Commonwealth database and backup systems.

Entry of a preliminary and a permanent injunction enjoining defendant, his
officers, employees, agents, and all persons acting in concert with defendant,
from violating the provisions of the Pennsylvania Department of Corrections
Code of Ethics and directing defendant to reinstate Plaintiff's to the single-cell
housing assigment from which was stripped away.

Entry of.a preliminary and a permanent injunction enjoining defendant, his
successors in office, employees, agents and all other persons acting in active
concert and participation with him in refusing to provide single-cell housing
assigment to Plaintiff on the basis of retaliation, thereby enjoining the use of
any policy, however stated, that actually precludes single-cell housing assigment

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of inmates in response to them exercising their constitutional rights.

f. Entry of a preliminary and a permanent injunction enjoining defendant, his
successors in office, employees, agents and all other persons acting in active
concert and participation with him in interfering in any way with the Plaintiff's
litigation activites.

g. Entry of a preliminary and a permanent injunction enjoining defendant, his
successors in office, employees, agents and all other persons acting in active
concert and participation with him in from making any remarks of a disparaging
nature to or about Plaintiff.

h. Grant Plaintiff.a permanent injunction enjoining defendant and all those acting
in concert with it and at its direction, from engaging in any policy or practice
which. discriminates against inmates on the basis of their exercising
constitutional rights.

i. Order defendant to make Plaintiff, insofar as he was adversely affected by the
described policies and practices, whole by providing appropriate standard of
care, custody, control, security, and well-being and other benefits in an amount
to be shown at trial, and other relief including, but not limited to, reinstatement
or reconsideration by defendant for Block Worker liberties provided to others.

j. Retain jurisdiction over this action to assure full compliance with the orders of
this Honorable Court and with applicable law and require defendant to file such
reports as this Honorable Court deems necessary to evaluate compliance.

k. Entry of a money judgment against defendant awarding the Plaintiff nominal
damages.

|. Entry. of. a money judgment against defendant awarding the Plaintiff
compensatory damages.

m. Entry of a money judgment against defendant awarding the Plaintiff. punitive
damages.

n. Entry of a money judgment against defendant awarding the Plaintiff pain and
suffering damages.

o. Entry of amoney judgment against defendant awarding the Plaintiff mental and

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emotional anguish damages.
p. An award to Plaintiff of his costs of suit, including reasonable attorney’s fees.
q. An award to Plaintiff of pre- and post-verdict interest, delay damages.

r. An award to Plaintiff of such other and further relief.as this Honorable Court
deems just and proper.

COUNT III - BREACH OF CONTRACT/THIRD-PARTY BENEFICIARY

RESTATEMENT (SECOND) OF CONTRACTS; 42 U.S.C. §1983

121. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein.at length.

122. At all times relevant, and as stated elsewhere in this Complaint, the defendant had
assented to both a written and oral contract both express and implied, to provide care,
custody, control, security, and well-being to care-dependent Plaintiff.

123. At all times material hereto, Plaintiff was under the care, custody, control, security,
and attendance of the defendant, who was acting within the course and scope of his agency or
employment, and under control or right of control of PADOC and/or the Commonwealth.

124. At all times material hereto, Plaintiff was a third-party beneficiary of the principal
contract between. defendant and PADOC, and also a third-party beneficiary of the quasi
contracts between defendant and the Commonwealth of Pennsylvania, the Pennsylvania State
Correctional Officer Association (PSCOA), and the Collective Bargaining Agreement (CBA).

125. The Defendant, by actions contrary to his sworn statutory obligation, has refused to
provide said care, custody, control, security, and well-being to Plaintiff, thus breaching said
written and oral agreemment/contract both express and implied.

126. Pursuant to the agreements and understandings between defendant and PADOC, and
defendant's position as a fiduciary under the circumstances, defendant was obligated to
provide adequate care, custody, control, security, and well-being to third-party Plaintiff and

was obligated to advise Plaintiff to seek outside assistance if he were unable to provide said

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care.

127. Defendants failed to do so, in breach of the agreements and understandings between
defendant and PADOC, the Commonwealth, PSCOA, and CBA.

128. Defendant's failure to provide care, custody, control, security, and well-being to
Plaintiff, did breach the principal contract with PADOC and the quasi contracts with the
Commonwealth of Pennsylvania, PSCOA, and CBA that obligated defendant to provide said
care, custody, control, security, and well-being for care-dependent Plaintiff.

129. Defendant defrauded Plaintiff, PADOC, the Commonwealth, and PSCOA by causing
them to believe Plaintiff was provided care, custody, control, security, and well-being by him

130. Defendant's failure to disclose to PADOC, the Commonwealth, and PSCOA the lack of
care, custody, control, security, and well-being rendered to Plaintiff constituted fraudulent
conduct which was intended to and did in fact deceive Plaintiff, PADOC, the Commonwealth,
and PSCOA.

131. Defendant's actions were outrageous and malicious, were intended to defraud and
cause injury to care-dependent Plaintiff.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT IV_- ASSUMSIT

RESTATEMENT (SECOND) OF CONTRACTS; 42 U.S.C. §1983

132. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

133. At all times relevant, and as stated elsewhere in this Complaint, the defendant had
assented to both a written and oral contract both express and implied, to provide care,

custody, control, security, and well-being to care-dependent Plaintiff.

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134. At all times material hereto, Plaintiff was under the care, custody, control, security,
and attendance of the defendant, who was acting within the course and scope of his agency or
employment, and under control or right of control of PADOC and/or the Commonwealth.

135. At all times material hereto, Plaintiff was a third-party beneficiary of the principal
contract between defendant and PADOC, and also a third-party beneficiary of the quasi
contracts between defendant and the Commonwealth of Pennsylvania, the Pennsylvania State
Correctional Officer Association (PSCOA), and the Collective Bargaining Agreement (CBA).

136. The Defendant, by actions contrary to his sworn statutory obligation, has refused to
provide said care, custody, control, security, and well-being to Plaintiff, thus breaching said
written and oral agreemment/contract both express and implied.

137. Pursuant to the agreements and understandings between defendant and PADOC, and
defendant's position as a fiduciary under the circumstances, defendant was obligated to
provide adequate care, custody, control, security, and well-being to third-party Plaintiff and
was obligated to advise Plaintiff to seek outside assistance if he were unable to provide said
care.

138. Defendants failed to do so, in breach of the agreements and understandings between
defendant and PADOC, the Commonwealth, PSCOA, and CBA.

139. Defendant's failure to provide care, custody, control, security, and well-being to
Plaintiff, did breach the principal contract with PADOC and the quasi contracts with the
Commonwealth of Pennsylvania, PSCOA, and CBA that obligated defendant to provide said
care, custody, control, security, and well-being for care-dependent Plaintiff.

140. Defendant defrauded Plaintiff, PADOC, the Commonwealth, and PSCOA by causing
them to believe Plaintiff was provided care, custody, control, security, and well-being by him.

141. Defendant's failure to disclose to PADOC, the Commonwealth, and PSCOA the lack of
care, custody, control, security, and well-being rendered to Plaintiff constituted fraudulent
conduct which was intended to and did in fact deceive Plaintiff, PADOC, the Commonwealth,
and PSCOA.

142. Defendant's actions were outrageous and malicious, were intended to defraud and

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cause injury to care-dependent Plaintiff.

WHEREFORE, Plaintiff. demands judgement against defendant for. an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT V_- BREACH OF CONTRACT VIOLATION OF DUE PROCESS

U.S. CONST. AMEND. XIV; PA. CONST. ART. 1 §8;

RESTATEMENT (SECOND) OF CONTRACTS; 42 U.S.C. §1983

143. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

144. Defendant had a contractual obligation and fiduciary duty to provide care, custody,
control, security and well-being Plaintiff.

145. Defendant violated his contract to provide protection for the Plaintiff by failing to
provide due process and. by failing to follow the rules and guidelines mandated for the
protection of Plaintiff after accepting the terms of the contract.

146. At all times relevant, and as stated herein and throughout this Complaint, defendant
failed to issue/provide said care, custody, control, security, and well-being, for Plaintiff as
required by PADOC policy, thus violated Plaintiff's due process rights.

147. Plaintiff avers that at all times relevant, was the beneficiary of the contract as stated
elsewhere in this Complaint, and was-at all times relevant, entitled to care, custody, control,
security, and well-being as outlined in said contract.

148. Plaintiff avers that defendant had no legal right to withhold its issuance from Plaintiff
without pre-deprivation due process of law, nor were they licensed or privileged to breach said
contract without modification of the terms.

149. Defendant failure to provide said care, custody, control, security, and well-being to

Plaintiff as contracted, denied Plaintiff Due Process of Law in violation of the Fourteenth

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Amendment to the United States Constitution and Article |, Section 8 of the Constitution of the
Commonwealth of Pennsylvania.

150. Defendant was required by contract for the issuance/performance of. said care,
custody, control, security, and well-being, as required by PADOC policy and the terms of the
contract.

151. Defendant strategically circumvented the terms his contract owed to Plaintiff. in
violation of Plaintiff's legal right, thus denying Plaintiff to due process of law.

152. As a direct or proximate result of the defendant's violation of due process, and acts
and/or conduct as stated elsewhere in this Complaint, Plaintiff was placed in constant fear for
his life.

153. As a direct or proximate result of the defendant's acts and/or conduct, Plaintiff
suffered severe and mental and emotional harm.

154. Plaintiff avers that at all times relevant, Plaintiff was entitled to the care, custody,
control, security, and well-being provided to other similarly-situated individuals.

155. Plaintiff avers that he has no other remedy at law to obtain redress for the loss of
care, custody, control, security, and well-being except through this action.

156. Plaintiff will suffer an injustice and injury if recovery of the terms of the contract are
denied.

157. Plaintiff avers that defendant's acts were in consortium with other individuals and/or
were due to Plaintiff's grievances and complaints to administrators.

158. The actions of defendant were arbitrary and capricious and the defendant failed to
follow the required rules and regulations, and failed to provide fundamental fairness or due
process.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

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COUNT VI - INTENTIONAL/FRAUDULENT MISREPRESENTATION

RESTATEMENT (SECOND) OF CONTRACTS/TORTS; 42 U.S.C. §1983

159. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

160. At all times relevant, defendant had, through deception, defrauded Plaintiff. into
believing he would receive by defendant the proper standard of care, custody, control, security
and well-being to his persons and did the same without intent of actually providing it.

161. At all times relevant, and as stated elsewhere throughout this Complaint, defendant's
intentional/fraudulent misrepresentations to Plaintiff was made to induce Plaintiff into
believing care, custody, control, and security of Plaintiff's persons, was in fact to deceive
Plaintiff, thus defrauded Plaintiff into believing in a false sense of safety and security.

162. At all times relevant, and as stated elsewhere throughout this Complaint, defendant's
intentional/fraudulent misrepresentations to Plaintiff were contrived to induce Plaintiff into
believing said care, custody, control, security, and well-being were in the control of defendant
and could not be completed without his assistance, thus defrauded Plaintiff sense of security.

163. Defendant did agree to provide Plaintiff with the proper standard of fiduciary care,
thus deceiving Plaintiff into believing he would. receive fiduciary care, custody, control,
security, and well-being required by the defendant and provided to other inmates.

164. Defendant's willful agreement to provide Plaintiff with the proper standard of
fiduciary care, custody, control, security, and well-being, and intentional failure/refusal to
provide such fiduciary care, custody, control and security as agreed upon, constitutes
fraudulent conduct and negligent misrepresentation, which was intended to, and did deceive
the Plaintiff into believing in such false hope of fiduciary care, custody, control, security, and
well-being of his persons.

165. The defendant, upon several pleas for the return of said care, custody, control,
security, and well-being by Plaintiff, has, and continues to refuse to provide Plaintiff with said

care, custody, control, security, and well-being, thus demonstrating malicious desire to deprive

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the Plaintiff thereof, and did so through and by fraud and negligent misrepresentation.

166. Defendant made the misrepresentations to Plaintiff with actual knowledge of the
statements falsity at the time the statements were made, or in reckless disregard of their truth
or falsity.

167. Plaintiff avers that defendant's actions were. deliberate, wanton, malicious and
specificically done to prevent Plaintiff from securing his persons and his future and to prevent
Plaintiff. from being secure in his persons, knowing that Plaintiff would have no. other
alternative to gain security of his persons.

168. As a direct or proximate result of the defendant's intentional/fraudulant
misrepresentions, Plaintiff was defrauded out of his the care, custody, control, security, and
well-being of his persons.

169. As a direct or proximate result of defendant's misrepresenting to Plaintiff that the
care, custody, control, security, and well-being could not be completed without his fiduciary
care, defrauded Plaintiff out of his sense of hope and security.

170. Plaintiff: avers as a direct or proximate result of defendant's conduct as stated
elsewhere throughout this Complaint, Plaintiff has lost his sense of care, custody, control,
security, and well-being, fees and costs, including future earned income.

171. As a direct or proximate result of the defendant's acts and/or conduct as stated
elsewhere in this Complaint, Plaintiff was unable to effectuate transactions on his own behalf.

172. As a direct or proximate result of the defendant's acts and/or conduct, Plaintiff
suffered severe mental and emotional harm.

173. As a direct result of Plaintiff's reasonable reliance on such misrepresentations, Plaintiff
has suffered damages as set forth above.

174. As a direct or proximate result of the defendant's acts and/or conduct, Plaintiff was
prevented from continuing relationships by the intentional stymieing of his records.

175. Plaintiff avers that he has no other remedy at law to obtain redress for these losses
except through this action.

176. Plaintiff will suffer an injustice and injury if recovery of the stolen property is denied.

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177. Plaintiff avers that defendant's acts were in consortium with others, and that they
collectively planned to cause injury to Plaintiff and place Plaintiff under duress, intimidation,
embarrassment, harassment, humiliation, ostracization, ridicule, threats or by other means.

178. Plaintiff avers that defendant's acts were in consortium with others, and that they
collectively planned to cause injury to Plaintiff, knowing it would cause Plaintiff. suffer
humiliation, for their own benefit.

WHEREFORE, Plaintiff. demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT Vil - BREACH OF FIDUCIARY DUTY

RESTATEMENT (SECOND) OF CONTRACTS/TORTS; U.S. CONST. AMEND. VIII; 42 U.S.C. §1983

179. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

180. At all times material hereto, defendant had a:contractual and statutorial obligation as
a fiduciary to provide care, custody, control, security, and well-being to Plaintiff.

181. At all times material hereto, the defendant had assented to the written contract and
statutorial obligation to act as a fiduciary to the Plaintiff.

182. At all times material hereto, there have been no gaps in the obligation for defendant
to provide care, custody, control, security, and well-being to Plaintiff.

183. Pursuant to the contract and/or statutorial obligation of defendant as a fiduciary
under the circumstances, defendant is obligated to act as a fiduciary to provide care, custody,
control, security, and well-being for Plaintiff.

184. At all times relevant, and as stated elsewhere in this Complaint, the defendant had
assented to said fiduciary duty, to provide care, custody, control, security, and well-being to

Plaintiff and made said agreement willing.

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185. The fiduciary relationship between defendant and the Plaintiff obligates defendant to
conduct himself fairly and with due care, diligence, and in good faith, and in an open and
honest manner.

186. The fiduciary relationship between defendant and the Plaintiff obligates defendant to
act with scrupulous good faith and candor on behalf of the Plaintiff, and to use common sense,
consciousness, honesty.

187. The fiduciary relationship between defendant and the Plaintiff obligates defendant to
use reasonable prudence and judgement.

188. In this fiduciary relationship, defendant was obligated to protect, care for, secure, and
defend Plaintiff in good faith.

189. Defendant was also obligated to cooperate in good faith with Plaintiff.

190. This fiduciary obligation should not permit defendant to subject Plaintiff to continued
hardship or to years of wasteful litigation.

191. Defendant is contractually obligated to defend Plaintiff's security and well-being, not
to treat Plaintiff carelessly and then marshal resources against Plaintiff.

192. Defendant owed a fiduciary duty to Plaintiff to act in the best interests of Plaintiff's
care, custody, control, security, and well-being to Plaintiff and to act in the best interests of the
Commonwealth as parens patriae to care for its more dependent citizens.

193. Defendant knowingly violated the duties of trust and care owed to Plaintiff and the
Commonwealth.

194. The acts and/or omissions by defendant were willful and malicious, done in bad faith,
and for the purpose of injuring Plaintiff.

195. The acts and/or omissions by defendant were committed intentionally, deliberately,
maliciously, and. fraudulently to cause foreseeable harm. to Plaintiff, and done with the
foreseeable knowledge substantial harm and damage would ensue.

196. Plaintiff had reason to believe he could rely on and in fact did rely to his detriment, on
the defendant fulfilling his fiduciary duties. and obligations as set forth in statue and

defendant's written contract with PADOC, including those set forth herein and throughout this

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Complaint.

197. Defendant negligently and carelessly breached and violated his fiduciary duties and
obligations owed to Plaintiff.

198. Defendant's breach of his fiduciary duties caused direct, proximate and substantial
foreseeable harm to Plaintiff.

199. Defendant breached his fiduciary duty by failing to provide care, custody, control,
security, and well-being for Plaintiff, as agreed.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT Vill - FRAUD AND DECEIT

RESTATEMENT (SECOND) OF CONTRACTS/TORTS; 42 U.S.C. §1983

200. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

201. At all times material hereto, the defendant maintained all documents concerning past
and present incidents, activities, and practices and was responsible for updating said
documents through their contractual fiduciary duty.

202. Defendant has in his possession, care, custody, control, and security documents that
govern her fiduciary duty and obligations to the Plaintiff.

203. Defendant signed a contractual obligation to abide by an ethical code of conduct as a
fiduciary of Plaintiff.

204. Defendant is aware of statements, documents, photographs, recordings, videotapes,
reports, referrals, and other materials concerning the factual averments described in this
Complaint.

205. During the period Plaintiff began his incarceration, continuing to the present, Plaintiff

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and defendant were engaged in a contractual fiduciary relationship.

206. During said relationship, defendant made material representations and withheld
material and important information concerning the care, custody, control, security, and well-
being of Plaintiff by failing to disclose his fraudulent activity and dereliction of duties.

207. Plaintiff expected to be provided the care, custody, control, security, and well-being
owed by defendant and defendant's sworn duty was to provide said care to Plaintiff.

208. Defendant was obligated to provide the care, custody, control, security, and well-being
owed to Plaintiff, yet defendant knew that said care would not be provided by defaming
Plaintiff to third-parties with the intent to cause Plaintiff foreseeable physical and financial
harm.

209. Defendant knew that said representations were false when he made them in that he
knew that said care, custody, control, security, and well-being could not be provided after
labeling Plaintiff a "rat."

210. Defendant's failure to disclose the breach of care, custody, control, security, and well-
being was intended to induce Plaintiff into a false sense of security.

211. Plaintiff justifiably relied upon the misrepresentation and failure to disclose the
important and material facts, based upon what he thought was an open and honest fiduciary
relationship.

212. Based upon said representation, Plaintiff did continue to trust defendant and as such
suffered a deteriorating financial, emotional and mental condition.

213. Defendant's conduct in failing to disclose the above-relevant, material and important
facts to Plaintiff.as well as the material misrepresentations to Plaintiff made by defendant, has
directly caused Plaintiff to suffer injuries and damages which include, but are not necessarily
limited to the following: panic attacks, self-harm, embarrassment, humiliation, harassment,
intimidation, ostracization, GastroEsophageal Reflux Disease (GERD), Post-Traumatic Stress
Disorder (PTSD), hypertension, heart palpitations, chest pains, constipation, anxiety, worry,
depression, insomnia, a complete disfunction of Plaintiff's circadian rhythm, loss of enjoyment

of life, damage to reputation, mental anguish and distress.

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214. As a further result of the conduct of defendant as aforesaid, Plaintiff has undergone
medical treatment and care and psychological counseling and which medical expenses will
continue in the future, all to the great detriment and financial loss of Plaintiff.

215. Defendant made the representations to Plaintiff with actual knowledge of their falsity
at the time they were made, or in reckless disregard of their truth or falisty.

216. The net effect of defendant's retaliatory misconduct and defamation was to hinder,
delay, and defraud Plaintiff and others, and was an integral part of defendant's plan and
scheme to injure the Plaintiff.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT IX - BAD FAITH

RESTATEMENT (SECOND) OF CONTRACTS/TORTS; 42 U.S.C. §1983

217. Plaintiff. repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

218. Defendant lacked good faith which resulted in the violation state and federal laws in
retaliating and defaming Plaintiff.

219. Defendant's abuse of was willful, wanton, and purposeful in denying Plaintiff's rights.

220. Plaintiff's interests were clearly established and defined by the existing PADOC rules,
PADOC Code of Ethics, as well as state and federal constitutional protections that support
Plaintiff's claims.

221. Upon information and belief, defendant has no reasonable or sufficient basis for
concluding that the fiduciary obligation of defendant's care, custody, control, security, and
well-being of Plaintiff was not due to Plaintiff at the time the retaliatory and defamation

misconduct was committed.

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222. Defendant acted in bad faith to deny Plaintiff's rights secured to him by state and
federal constitutions.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT X - CONSPIRACY

RESTATEMENT (SECOND) OF TORTS; 42 U.S.C. §1983

223. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

224. At all times relevent, and as stated elsewhere in this Complaint, defendant did
conspire with others, others unknown to Plaintiff, to cause injury to Plaintiff.

225. At all times relevent, and as stated elsewhere in this Complaint, defendant did
conspire with others unknown to Plaintiff, to misrepresent to Plaintiff that the care, custody,
control and security of Plaintiff's was being provided, thus defrauded Plaintiff out of the the
same.

226. Defendant made the misrepresentations to Plaintiff with actual knowledge of the
statements falsity at the time the statements were made, or in reckless disregard of their truth
or falsity.

227. At all times relevant, and as stated elsewhere in. this Complaint, defendant's
conspiracy to intentionally misrepresent the facts to Plaintiff was contrived to induce Plaintiff
into believing said care, custody, control, security, and well-being would be provided, thus
defrauded Plaintiff out of the same.

228. As a direct or proximate result of defendant's misrepresentions, defendant defrauded
Plaintiff out of the aforesaid.

229. Defendant conpired to misrepresent specious allegations to the Plaintiff and others

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with actual knowledge of the statements falsity at the time the statements were made, or in
reckless disregard of their truth or falsity.

230. Plaintiff avers that defendant's actions were deliberate, wanton, malicious and
specificically done to prevent Plaintiff from becoming financially stable so as to prevent
Plaintiff from having control over his own affairs and person, and knowing that Plaintiff
intended secure said chattels with the intent to save for his own future.

231. As a direct or proximate result of the defendants acts and/or conduct, Plaintiff was
placed in excess foreseeable harm.

232. Plaintiff avers as a direct or proximate result of defendant's conduct as stated
elsewhere in this Complaint, including fees and costs, and loss of future earned income.

233. As a direct or proximate result of the defendant's acts and/or conduct as stated
elsewhere in this Complaint, Plaintiff was unable to effectuate transactions on his own behalf.

234. Plaintiff avers with the negative work report on his record, Plaintiff is unable to satisfy
the requirements for the Pennsylvania Board of Pardons and Parole.

235. As a direct or proximate result of the defendant's acts and/or conduct, Plaintiff
suffered severe mental and emotional harm.

236. As a direct or proximate result of the defendant's acts and/or conduct, Plaintiff is
prevented from continuing to pursue his freedom by defendant's intentional stymieing of the
affairs of the Plaintiff.

237. Plaintiff avers that he has no other remedy at law to obtain redress except through
this action.

238. Plaintiff will suffer an injustice and injury if recovery is denied.

239. Plaintiff avers that defendant's acts were in consortium with others unknown to
Plaintiff, and that they collectively planned to take have Plaintiff lose his potential for
commutation and/or pardon while placing Plaintiff under duress, intimidation, threat or by
other means.

240. Plaintiff avers that defendant's acts were in consortium with others unknown to

Plaintiff, and that they collectively planned to cause injury to Plaintiff for their own financial

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benefit.

241. Plaintiff avers that defendant's actions were deliberate, wanton, malicious and
specificically done to prevent Plaintiff from securing his own future so as to prevent Plaintiff
from having control over affairs and his persons, and knowing that Plaintiff was in the process
of being reviewed for commutation.

WHEREFORE, Plaintiff. demands judgement against. defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT XI - CIVIL RIGHTS VIOLATIONS

U.S. CONST. AMEND. I, VIII, IX; 42 U.S.C. §1983

242. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

243. This court's jurisdiction in invoked pursuant to 28 U.S.C. §1331.

244. Defendant, with knowledge of Plaintiff's right to care, custody, control, security, and
well-being and/or with deliberate indifference to such right, had acted or failed to act in sucha
way as to deprive Plaintiff of necessary and adequate confinement conditions appropriate to
his condition, thereby endangering the Plaintiff's security, health and well-being. Such acts and
omissions of the defendants violate rights secured to the Plaintiff under the First, Eighth, and
Fourteenth Amendments.

245. Defendant, with knowledge of Plaintiff's needs for health, security, and well-being
and/or with deliberate indifference to such state of being, have acted or failed to act in such a
way as to deprive Plaintiff of necessary and adequate confinement conditions appropriate to
his survival, thereby endangering the Plaintiff's security, health and well-being. Such acts and
omissions of the defendants violate rights secured to the Plaintiff under the First, Eighth, and

Fourteenth Amendments.

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246. Defendant, knowing of the needs of the Plaintiff and with deliberate indifference to
the inadequacies and deficiencies in the staffing and security procedures at State Correctional
Institute at Phoenix, have failed and neglected to establish and implement policies, practices
and procedures designed to assure that Plaintiff would receive confinement conditions
appropriate for his survival at the standards therefor in the State Correctional Institute at
Phoenix, or has adopted policies, practices and procedures which. defendant knew, or
reasonably should have known, would be ineffective in delivering such standards, thereby
endangering Plaintiff's security, health and well-being in violation of rights secured to Plaintiff
by the First, Eighth, and Fourteenth Amendments.

247. Defendant, knowing of the security, and well-being needs of the Plaintiff and with
deliberate indifference to such needs, have failed to assure the delivery of confinement
conditions consistent with said standards, thereby endangering the Plaintiff's security, health
and well-being in violation of the First, Eighth, and Fourteenth Amendments.

248. The defendant's actions and/or omissions were negligent and/or reckless and/or
intentional.

249. The defendant's actions and/or omissions were committed under color of law and/or
pursuant to policies, customs, practices, rules, regulation, ordinances, statues and/or usages of
the State of Pennsylvania, the Department of Corrections and/or State Correctional Institute at
Phoenix.

250. These actions have served to deprive the Plaintiff of his civil rights, as previously
outlines, under color of law, and hence violate the United States Constitution and are
actionable under 42 U.S.C. §1983.

251. As a direct result of defendant's reckless and negligent conduct, Plaintiff sustained
physical injuries including, but not limited to, panic: attacks, self-harm, embarrassment,
humiliation, harassment, intimidation, ostracization, GastroEsophageal Reflux Disease (GERD),
Post-Traumatic Stress Disorder (PTSD), hypertension, heart palpitations, chest — pains,
constipation, anxiety, worry, depression, insomnia, a complete disfunction. of Plaintiff's

circadian rhythm, loss of enjoyment of life, damage to reputation, mental anguish and distress.

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252. As a direct result of defendant's reckless and negligent conduct, Plaintiff has suffered
and will continue to suffer great pain, embarrassment, mental anguish, and loss of the
enjoyment of life.

253. As a direct result of defendant's reckless and negligent conduct, Plaintiff has expended
and will be required to expend large sums of money for medical services and treatment of the
physical and mental injuries described herein and throughout the Complaint.

254. As a direct result of defendant's reckless and negligent conduct, Plaintiff has been and
will be deprived of earnings.

255. Plaintiff's injuries, as herein set forth, were directly and proximately caused by the
carelessness, negligence, and deliberate indifference of defendant, and included but are not
necessarily. limited to the injuries described throughout this Complaint, all of which have
continued to the present, are permanent in nature, and are expected to continue throughout
Plaintiff's lifetime.

256. As a direct result of the aforementioned injuries, Plaintiff has suffered, and will
continue to suffer for an indefinite time in the future, great physical painand mental anguish,
to his great detriment and loss.

257. As a further result of the aforementioned injuries, Plainitff has suffered a marked loss
of earnings and depreciation of his earning capacity, and will continue to suffer such loss and
depreciation for an indefinite time in the future, to his great detriment and loss.

258. As a further result of the aforementioned injuries, Plaintiff has been unable to attend
to. and perform his usual and daily duties, occupation, avocations, and labors, and will continue
to be so disabled for an indefinite time in the future, to his great detriment and loss.

259. As a further result of the aforementioned injuries, Plaintiff was caused to and did
suffer bodily and personal injury, including but not limited to, mental anguish, loss of capacity
for the enjoyment of life, medical care, treatment and costs associated therewith and the loss
of past and future earning capacity. These losses are permanent and continuing in nature.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be

determined by jury upon this Count, including nominal, compensatory, and punitive damages,

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with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre-and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT XII - NEGLIGENCE/GROSS NEGLIGENCE/NEGLIGENCE PER SE

RESTATEMENT (SECOND) OF TORTS; 42 U.S.C. §1983

260. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

262. Defendant had a statutory duty to care for care-dependent Plaintiff and had willingly
agreed to such duty.

263. Defendant had agreed to the duty to care for Plaintiff, by failing to do so, defendant
did breach that duty, thus depriving the Plaintiff of the proper standard of care, and causing
injury to the Plaintiff.

264. Defendant's agreement to the duty to care, and intentional failure/refusal to provide
such care as agreed, constitutes negligence and/or gross negligent conduct which was intended
to cause foreseeable harm Plaintiff.

265. Defendant owed a statutory duty to Plaintiff to treat him as one reasonable prudent
person would treat his care-dependent individual.

266. Defendant's continual course of negligence constitutes a breach of that duty.

267. As.a direct result of defendant's reckless and negligent conduct, Plaintiff sustained
physical injuries including, but not limited to, panic attacks, self-harm, embarrassment,
humiliation, harassment, intimidation, ostracization, GastroEsophageal Reflux Disease (GERD),
Post-Traumatic Stress Disorder (PTSD), hypertension, heart palpitations, chest pains,
constipation, anxiety, worry, depression, insomnia, a complete disfunction of Plaintiff's
circadian rhythm, loss of enjoyment of life, damage to reputation, mental anguish and distress.

268. As a direct result of defendant's reckless and negligent conduct, Plaintiff has suffered
and will continue to suffer great pain, embarrassment, mental anguish, and loss of. the

enjoyment of life.

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269. As. a direct result of defendant's reckless and negligent conduct, Plaintiff. has
expended and will be required to expend large sums of money for medical services and
treatment of the physical and mental injuries described herein and throughout the Complaint.

270. As a direct result of defendant's reckless and negligent conduct, Plaintiff has been and
will be deprived of earnings.

271. Plaintiff's injuries, as herein set forth, were directly and proximately caused by the
carelessness, negligence, and deliberate indifference of defendant, and included but are not
necessarily limited to the injuries described throughout this Complaint, all of which have
continued to the present, are permanent in nature, and are expected to continue throughout
Plaintiff's lifetime.

272. As a direct result of the aforementioned injuries, Plaintiff has suffered, and will
continue to suffer for an indefinite time in the future, great physical pain and mental anguish,
to his great detriment and loss.

273. As a further result of the aforementioned injuries, Plainitff has suffered a marked loss
of earnings and depreciation of his earning capacity, and will continue to suffer such loss and
depreciation for an indefinite time in the future, to his great detriment and loss.

274. As a further result of the aforementioned injuries, Plaintiff has been unable to attend
to and perform his usual and daily duties, occupation, avocations, and labors, and will continue
to be so disabled for an indefinite time in the future, to his great detriment and loss.

275. As a further result of the aforementioned injuries, Plaintiff was caused to and did
suffer bodily and personal injury, including but not limited to, mental anguish, loss of capacity
for the enjoyment of life, extensive medical care, treatment and costs associated therewith
and the loss of past and future earning capacity. These losses are permanent and continuing in
nature.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,

attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

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relief this Honorable Court deems appropriate.

COUNT XIII - DEFAMATION OF CHARACTER - LIBEL AND SLANDER PER SE

RESTATEMENT (SECOND) OF TORTS; 42 U.S.C. §1983

276. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

277. At all times material hereto, Plaintiff has enjoyed not only the confidence of his official
superiors, but the esteem and respect of all who knew him and of the prison community in
general. Plaintiff has never been guilty of "rating" and/or "poor work performance," or any
similar offense; but has on the contrary always discharged his duties with strict integrity.

278. On or about April 8 2023, the defendant, well knowing the truth of the matters alleged
herein and throughout this Complaint, and intending to injure Plaintiff by depriving him of his
good name, and further intending to cause Plaintiff to be removed from his job opportunity,
maliciously, wickedly created and published a negative work report in the PADOC
documentation system, containing scandalous, defamatory and libelous statements. and
concerning the Plaintiff.

279. Defendant published the negative work report in the documentation system that was
thereby propagated throughout the network, integrated with other applications and seen by
all State-wide servants, workman, independant-contractors, consultants, and/or employees
accessing DOCNET, SAPPHIRE, CAPTURE, and/or paper copies of Plaintiff's file.

280. Plaintiff was defamed to others by the false statements and false documentation of
defendant that were known or should have known to be false when made, that Plaintiff was
not "rating" on anyone, only exercising his constitutional right to file grievances.

281. Plaintiff avers that the statements and charges identified herein are wholly false, in
that Plaintiff has never been accused of "rating" and has maintained at least an average or
above work performance for more than 12 years.

282. Plaintiff avers that the statements and charges identified herein were done to retaliate

against Plaintiff for filing a grievance against defendant.

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283. Defendant made disparaging comments to third-parties about the Plaintiff, knowing
-. the statements were false and designed to defame and otherwise harass the Plaintiff.

284. Defendant made disparaging comments to third-parties about the Plaintiff, knowing
the statements were likely to cause foreseeable physical and financial harm to the Plaintiff,
and/or threaten his physical and financial security.

285. At the time of the publication and false statements made to third-parties, defendant
knew that the statements and negative work report identified herein were false, or acted with
reckless disregard for their truth or falsity.

286. As a result of the defendant’s actions, Plaintiff has been brought into reproach and has
been injured in his good name, his credit, his personal and professional reputation, and his
feelings, to his great detriment and financial loss.

287. It is extreme and outrageous to discuss Plaintiff's official grievance filings with third-
parties with the intent to cause foreseeable physical harm to Plaintiff.

288. It is extreme and. outrageous. for. defendant. to publish false statements and
disparaging comments about Plaintiff for third-parties to read, with the intent to cause
foreseeable financial harm to Plaintiff.

289. It is extreme and outrageous for defendant to publish false statements and
disparaging comments about Plaintiff for third-parties to read, with the intent to have
Plaintiff's commutation denied by the governor of the Commonwealth of Pennsylvania and the
Board of Pardons and Parole.

290. Due to the defamation that Plaintiff was subjected to, Plaintiff has suffered the
following bodily and emotional injuries:

a. . embarrassment;
b. “humiliation;

c. intimidation;

d. - ostracization;

e. panic attacks;

f. _GastroEsophageal Reflux Disease (GERD);

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g. Post-Traumatic Stress Disorder (PTSD);
h. hypertension;

i. heart palpitations;

j. chest pains;

k. constipation;

I. anxiety;

m. worry;

n. depression;

o.. insomnia;

p. disfunction of circadian rhythm;
q. loss of enjoyment of life;

r. damage to reputation; and,

s.. mental anguish and distress.

291. As a result of defendant's defamatory statements and publications, Plaintiff is entitled
to damages, perse.

292. Defendant was not acting within the scope of his employment duties when he relayed
false information to other inmates about Plaintiff. Defendant is not eligible for any immunity. as
the false statements were made outside of the context of his job description and duties, and
were in violation of the PADOC's own rules, policies, and ethical standards.

293. Defendant's conduct in defaming Plaintiff was also intentional or engaged in with
reckless disregard for Plaintiff and Plaintiff's safety, and was thus outrageous, permitting an
award of punitive damages.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

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COUNT XIV - RETALIATION

U.S. CONST. AMEND. I; PA. CONST. ART. | §20; 42 U.S.C. §1983

294. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

295. At all times material hereto, and as stated elsewhere in this Complaint, defendant
violated Plaintiff's First Amendment Right to Free Speech by intentionally retaliating against
Plaintiff for filing grievances, complaining to administrators, and using the courts.

296. Plaintiff believes, and therefore avers, that said retaliatory conduct was in response to
the exercise of Plaintiff's First Amendment Rights, and that such conduct did not constitute a
violation of an PADOC policies or regulations.

297. Plaintiff believes, and therefore avers, that said retaliatory conduct by above-named
defendant was in violation of, inter alia, the PADOC Code of Ethics and policies, as well as state
and federal law.

298. Plaintiff believes, and therefore avers, that said retaliatory conduct by above-named
defendant was in direct response to Plaintiff filing grievances, complaining to administrators,
and using the courts.

299. Plaintiff believes, and therefore avers, that said conduct by above-named defendant
did not further a legitimate penological interest, but rather sought to suppress the intent and
purpose of the Plaintiff seeking justice.

300. Plaintiff believes, and therefore avers, that the acts done by defendant were arbitrary
and capricious.

301. The Plaintiff was performing protected conduct under, inter alia, the Constitution of
the United States, the Constitution of the Commonwealth of Pennsylvania and the defendant
took adverse actions against the Plaintiff and treated him differently than other. similarly-
situated individuals.

302. As a direct and proximate result of above-named defendant's retaliatory actions,
Plaintiff is in great fear of exercising his First Amendment Rights, which include, but is not

limited to: (1) filing further grievances, (2). complaining to administrators, (3) pursuing

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commutation.

303 .. As a direct and proximate result of above-named defendant's retaliatory actions,
Plaintiff is in great fear of further retaliation in the form of being assaulted by other prisoners
to curry favor with the defendant.

304. As a direct and proximate result of above-named defendant's retaliatory actions,
Plaintiff is in great fear of further retaliation in the form of having property illegally confiscated
and withheld.

305. As a direct and proximate result of above-named defendant's retaliatory actions,
Plaintiff is in great fear of further retaliation in the form of being placed on Administrative
Custody Status under the specious assertion that Plaintiff poses a threat to the institution or
other prisoners.

306. Plaintiff avers above-named defendants’ actis of retaliation were sufficient to deter
Plaintiff - a person of ordinary firmness - from exercising his constitutional rights.

307. Defendant acted in concert and without authorization of law, willfully, knowingly and
purposefully, with the specific intent of depriving Plaintiff his constitutional rights to, inter alia,
care, custody, control, safety, security, liberty, and well-being.

308. Asa direct and proximate cause and consequence of the totality of the conduct, acts,
and/or omissions of the defendant, the Plaintiff was subjected to, inter alia:

a. ist Amendment infringement to legitimate protest;

b. 8th Amendment deliberate indifference;

c. 8th Amendment cruel and unusual punishment;

d. 14th Amendment unjustified intrusions upon physical security;

e. 14th Amendment bodily-risks in peculiar circumstances;

f. 14th Amendment deprivation of safety, health, well-being, security;
g. Torts of: negligence, neglect, harassment;

309. Defendant's retaliatory misconduct as to Plaintiff was inflicted with malice and
reckless indifference to the federal and state protections of care-dependent Plaintiff.

310. Defendant was not acting within the scope of his employment duties when he falsified

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a negative work report about Plaintiff in retaliation for stating he was filing a grievance; and
defendant is not eligible for any immunity as the false oral and written statements were made
outside of the context of his job description and duties, and in violation of the PADOC's own
rules, policies, and ethical standards.

311. As a direct and proximate result of defendant's retaliation, Plaintiff has been deprived
of benefits including, but not limited to: exclusion from the meaningful access and full and
equal enjoyment of, inter alia, the work program of a public entity.

312. Defendant's retaliation on Plaintiff has caused, continues to cause, and in the future
will cause the Plaintiff to suffer substantial damages, percuniary losses, mental anguish, loss of
enjoyment of life, and other non-pecuniary losses.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT XV - EQUAL PROTECTION (CLASS OF ONE THEORY)

U.S. CONST. AMEND. XIV; PA. CONST. ART. 1 §20; 42 U.S.C. §1983

313. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

314. Defendant treated Plaintiff differently from others similarly-situated individuals.

315. At all times material hereto, and as stated elsewhere in this Complaint, defendant
failed to take action to protect Plaintiff pursuant to his training and/or PADOC Code of Ethics
and policies.

316, Defendant's intentional breaches of his fiduciary duty caused direct, proximate, and
substantial harm to Plaintiff.

317. Evidence shows that defendant intentionally treated: similarly-situated individuals

different from the Plaintiff and that the disparate treatment lacked any rational basis or

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penological interest.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT XVI - FAILURE TO PROTECT

U.S. CONST. AMEND. VIII; 42 U.S.C. §1983

318. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

319. Plaintiff brings this count against defendant for his deliberate indifference to the
constitutional rights of Plaintiff, while having the authority to abstain in the abuse of Plaintiff,
failed to exercise such authority, after being sworn to protect Plaintiff, that said care, custody,
control, security, and well-being would be provided to Plaintiff illegally withheld said care, thus
causing injury and suffering to Plaintiff, while failing to protect the Plaintiff.

320. At all times material hereto, and as stated elsewhere in this Complaint, defendant
failed to take action to protect Plaintiff pursuant to his training and/or PADOC Code of Ethics
and policies.

321. At all times material hereto, and as stated elsewhere in this Complaint, defendant
acquiesced in the malicious and sadistic acts, failed to exercise personal objections to the
illegal treatment. of. Plaintiff, in violation of, inter alia, the United States Constitution,
Constitution of the Commonwealth of Pennsylvania, and PADOC Code of Ethics and policies.

WHEREFORE, Plaintiff demands judgement against defendant. for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

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COUNT XVII - FAILURE TO WARN

U.S. CONST. AMEND. VIII; 42 U.S.C. §1983

322. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

323. Pursuant to his defined statutory duties to the Plaintiff, the defendant had a duty to
warn Plaintiff of unnecessary and foreseeable risks of injury to his person.

324. Pursuant to his job description and job duties owed to the Plaintiff, the defendant had
a duty to warn the Plaintiff if he were changing his position to provide care, custody, control,
security, and well-being to the Plaintiff.

325. Defendant failed to provide the proper standard of care to the Plaintiff, which, at a
minimum, should have included a discussion with the Plaintiff prior to taking adverse action
against him, thereby putting his health, safety, security, and well-being in grave danger.

326. Pursuant to his respective duties and statutory obligations owed to Plaintiff, the
defendant had a duty to warn Plaintiff his work report would negatively impact him, prior to
removing Plaintiff from his work assignment.

327. Pursuant to his respective duties and statutory obligations owed to Plaintiff, the
defendant had a duty to warn Plaintiff his work report would negatively impact him, prior to
filing said negative work report.

328. Pursuant to his respective duties and statutory obligations owed to Plaintiff, the
defendant had a duty to warn Plaintiff his work report would negatively impact Plaintiff's
commutation and/or pardon, prior to filing said negative work report.

329. Pursuant to his respective duties and ‘statutory obligations owed to Plaintiff, the
defendant had a duty to warn Plaintiff he would be negatively impacted by the labeling of
being a "rat", prior to telling other inmates on the housing unit he was a "rat".

330. By taking a position with respect to Plaintiff's work program which was contrary to
any prior position taken by defendant over the past 18 years, defendant had breached his duty

to warn Plaintiff.

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331. In failing to make reasonable warnings to Plaintiff that other inmates were going to
assault him, defendant acted with reckless indifference to the state and federal protective
rights of the Plaintiff.

332. As a direct and proximate result of defendant's retaliation, Plaintiff was ejected from
the work program, ostracized by the inmate community, and exasperated Plaintiff's chance of
being commuted and/or pardoned, and Plaintiff has suffered the loss of benefits, friendships,
and opportunities.

333. By reason of the foregoing, Plaintiff has been deprived of the meaningful access and
full and equal rights and enjoyment, inter alia, of the work program of a public entity that
receives federal funding, and has suffered from, including but not limited to: panic attacks,
self-harm, . embarrassment, | humiliation, | harassment, — intimidation, — ostracization,
GastroEsophageal Reflux Disease (GERD), Post-Traumatic Stress Disorder (PTSD), hypertension,
heart palpitations, chest pains, constipation, anxiety, worry, depression, insomnia, a complete
disfunction of Plaintiff's circadian rhythm, loss of enjoyment of life, damage to reputation,
mental anguish and distress.

334. Plaintiff's injuries and pain and suffering were a direct and proximate result of the
negligence, carelessness, and recklessness of defendants and not any action or inaction on part
of the Plaintiff.

335. Due to defendant's breach of duty and contractual obligations, Plaintiff has suffered
and continues to. suffer direct and consequential harm and expense, including, without
limitation, the costs of maintaining this action for which defendant is fully liable to Plaintiff.

336. Defendant's breaches of his fiduciary duty caused direct, proximate, and substantial
harm to Plaintiff.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

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COUNT XVIIl_- CRUEL AND UNUSUAL PUNISHMENT/FACILITATING ASSAULT

U.S. CONST. AMEND. Vill; 42 U.S.C. §1983

337. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

338. This count is brought against Defendant Safa pursuant 42 U.S.C. § 1983, Eighth
Amendment, for deliberate indifference to the health and safety of Plaintiff.

339. Defendant had personal knowledge of a substantial risk of serious harm to Plaintiff
when defendant called Plaintiff.a rat/snitch to other prisoners, and that such knowledge was
deliberately indifferent to Plaintiff's health and safety, and therefore violated Plaintiff's Eighth
Amendment right to be free from Cruel and Unusual punishment.

340. Plaintiff avers that the actions of defendant in calling Plaintiff a rat/snitch in the
presence of other inmates was done in retaliation for Plaitiff filing grievances against the
Defendant , with the intent of causing the Plaintiff to be assaulted.

341. The failure of defendant to act on his knowledge of a substantial risk of serious harm
to Plaintiff was deliberately indifferent, and violated Eighth Amendment right to be free from
Cruel and Unusual punishment.

342. Defendant's conduct violated the rights, privileges and immunity's guaranteed by the
Eighth Amendment.

343. Defendant's acts as stated elsewhere in this complaint, were committed against
Plaintiff for the sole purpose of retaliation and done maliciously and sadistically to cause injury
and harm to Plaintiff.

344. Plaintiff avers that defendant demonstrated deliberate indifference to Plaintiff's life
and safety by calling a rat/snitch in the presence of other inmates which is notoriously known
to cause prisoners to be assaulted.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,

attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

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relief this Honorable Court deems appropriate.

COUNT XIX_- RETALIATION /FACILITATING ASSAULT

RESTATEMENT (SECOND) OF TORTS; 42 C.S.A. §8522(b); 42 U.S.C. §1983

345. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

346. Defendant was not acting within the scope of his employment/duties when
maliciously and sadistically placing Plaintiff at risk of assault.

347. Defendant Safa intended to cause harm or. offensive contact with the Plaintiff, and
that such contact actually occurred.

348. Defendant intended to place Plaintiff in reasonable and immediate apprehension of
harmful or offensive contact, and that said statements that Plaintiff was a rat/snitch did cause
such apprehension.

349. Defendant's statement were intended to inflict this contact and took affirmative
actions to do so.

350. Plaintiff avers that defendant's actions were unreasonable in the use of sais statement
in relation to his employment duties.

351. As stated elsewhere in this complaint, the actions of defendant was done without any
privilege or right to place Plaintiff in danger of assault as said conduct violated state law, and
were committeed contrary to Department Code of Ethics and Policy.

352. As stated elsewhere in this complaint, the actions of defendant was committed
without need or provocation, as Plaintiff in no way obstreperous, and said statement were not
made in good-faith in an effort to maintain or restore discipline, but rather inflicted maliciously
ans sadistically to cause injury and harm to Plaintiff.

353. The above acts as stated elsewhere in this complaint, were committed against Plaintiff
for the sole purpose of retaliation and to inflict unnecessary pain, discomfort and injury, and
that the defendant's statement were not applied in good-faith in an effort to maintain or

restore discipline, but rather inflicted maliciously ans sadistically to cause injury and harm to

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Plaintiff.

354. Plaintiff avers that at all times relevant to the above mentioned conduct, defendant
was not acting in jhis official capacity or under the color of state law, as above mentioned
conduct was not within his job description, or sanctioned by policy or Department Code of
Ethics,thus the defendant does not enjoy immunity from suit.

355. At all times relevant, Plaintiff was engaging in a constitutionally protected activity.

356. The defendant's acts as stated elsewhere in this Complaint, were committed against
Plaintiff for the sole purpose of retaliation.

357. The actions of defendant in calling the Plaintiff.a "rat" in the presence of other
inmates was done in retaliation for the Plaintiff filing grievance against the defendant.

358. Defendant had personal knowledge of.a substantial risk of serious harm to Plaintiff
when the defendant called Plaintiff a rat/snitch to other prisoners, and that such conduct
constituted assault and battery.

359. Plaintiff avers that he has a protected First Amendment Right to free speech, and
implicit in that right, is the right to engage in constitutionally protected activities.

360. At all times relevant as stated elsewhere in this complaint, defendant Safa violated
Plaintiff's First Amendment Right ot Free Speech by intentioanally retaliating against Plaintiff
for filing grievances.

361. Plaintiff avers that said conduct by defendant Safa was in direct response to Plaintiff
filing grievances.

362. Plaintiff avers that defendant's retaliatory action did not futher a legitimate
penological goal.

363. As a direct or proximate result of defendant's acts, Plaintiff is in greeat fear of
exercising his First Amendment Rights, which includes, but is not limited to: 1) Being placed in
fear of loss of prison employment; 2) receiving contrived misconduct, and 3) any other adverse
action personally may engage in.

364. Plaintiff avers defendant Safa's acts of retaliation were sufficient to deter Plaintiff; a

person of ordinary firmness, from exercising his constitutional rights.

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WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT XX_- STATE CREATED ZONE-OF-DANGER

U.S. CONST. AMEND. VIIL; 42 U.S.C. §1983

365. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

366. At all times relevant as stated elsewhere in this complaint, the Plaintiff and defendant
were in.a relationship where such actions by the defendant left Plaintiff in such a way as to
leave the Plaintiff vulnerable to a foreseeable injury during which placed the Plaintiff in danger.
of a foreseeable injury and the Plaintiff was a foreseeable victim of the defendant's acts in a
tortsense.

367. At all times relevant as stated elsewhere in this complaint, defendant acted with the
requisite degree of culpability in failing to protect Plaintiff.

368. Defendant placed Plaintiff in eminent exposure to immediate physical harm eminating
from the actions of the defendant tortfeasor which placed the Plaintiff - a discreet individual -
in constant fear of foreseeable injury and/or harm of assault.

369. At all times relevant as stated elsewhere in this complaint, the defendant knew of the
risk he created by his words, written and oral, and deliberately disregarded the foreseeable
danger to Plaintiff.

370. The actions of defendant was the substantial factor causing Plaintiff to said sensory
experience and without the defendant's actions, the Plaintiff would not have been placed in
this elevated risk of injury.

371. The defendant was the intervening cause in Plaintiff sensory experience of being

placed in this elevated risk of injury without the proper standard of care, custody, control,

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security, and well-being that was the statutory obligation of defendant.
. 372. Plaintiff is a member.of a discrete class of persons subjected to the potential harm
brought about by the defendant's actions.

373. Defendant used his authority to create an opportunity which otherwise would not
have existed for the specific harm to occur and defendant affirmatively acted to create the risk
which resulted in the harm to Plaintiff.

374. The actions of defendant evince a willingness to ignore a foreseeable danger and/or
risk, which was foreseeable, did not exist prior to defendant's actions, and was elevated by
defendant's malfeasance.

375. The defendant's negligence resulted in a sensory experience that caused Plaintiff
mental distress.

376. Defendant was not acting within the scope of his employment/duties when maliciously
and sadistically placing Plaintiff at risk of assault.

377. Asa direct or proximate result of defendant's acts, the Plaintiff faced a particular
threat greater than that faced by the inmate public at large and the defendant was aware of
said increased danger to Plaintiff.

378. As a direct result of defendant's reckless and negligent conduct, Plaintiff sustained
physical injuries including, but not limited to, panic attacks, self-harm, embarrassment,
humiliation, harassment, intimidation, ostracization, GastroEsophageal Reflux Disease (GERD),
Post-Traumatic Stress Disorder (PTSD), hypertension, heart palpitations, chest pains,
constipation, anxiety, worry, depression, insomnia, a complete disfunction. of. Plaintiff's
circadian rhythm, loss of enjoyment of life, damage to reputation, mental anguish and distress.

379. As a direct result of defendant's reckless and negligent conduct, Plaintiff has suffered
and will continue to suffer great pain, embarrassment, mental anguish, and loss of the
enjoyment of life.

380. As a direct result of defendant's reckless and negligent conduct, Plaintiff has
expended and will be required to expend large sums of money for medical services and

treatment of the physical and mental injuries described herein and throughout the Complaint.

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381. As a direct result of defendant's reckless and negligent conduct, Plaintiff has been and
will be deprived of earnings.

382. Plaintiff's injuries, as herein set forth, were directly and proximately caused by the
carelessness, negligence, and deliberate indifference of defendant, and included but are not
necessarily limited to the injuries described throughout this Complaint, all of which have
continued to the present, are permanent in nature, and are expected to continue throughout
Plaintiff's lifetime.

383. As a direct result of the aforementioned injuries, Plaintiff has suffered, and will
continue to suffer for an indefinite time in the future, great physical pain and mental anguish,
to his great detriment and loss.

384. As a further result of the aforementioned injuries, Plainitff has suffered a marked loss
of earnings and depreciation of his earning capacity, and will continue to suffer such loss and
depreciation for an indefinite time in the future, to his great detriment and loss.

385. As a further result of the aforementioned injuries, Plaintiff has been unable to attend
to and perform his usual and daily duties, occupation, avocations, and labors, and will continue
to be so disabled for an indefinite time in the future, to his great detriment and loss.

386. As a further result of the aforementioned injuries, Plaintiff was caused to and did
suffer bodily and personal injury, including but not limited to, mental anguish, loss of capacity
for the enjoyment of life, extensive medical care, treatment and costs associated therewith
and the loss of past and future earning capacity. These losses are permanent and continuing in
nature.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT XxXI - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

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AND/OR
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

RESTATEMENT (SECOND) OF TORTS; 42 U.S.C. §1983

387. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

_ 388. Pleading in the alternative, and/or both jointly and/or severally, the following causes

of action(s) are alleged: Intentional infliction of Emotional Distress - Restatement (Second) of

Torts §46 - Papieves v. Lawrence, 437 Pa. 373, 263, A.2d 118 (1970); Negligent Infliction of

Emotional Distress - Restatement (Second) of Torts §436(1) - Toney V. Chester Co. Hosp., 36
A.2d 83, 95 (Pa. S. Ct. 2011).

389. At all times relevant hereto, Plaintiff and defendant were in a care-dependent/care-
provider relationship extending many years.

390. At all times relevant hereto, defendant knew with substantial certainty that severe
emotional distress would be produced by his conduct.

391. Plaintiff being incarcerated, and having no. other viable alternative to entrust, the
defendant knew the Plaintiff relied solely on the defendant for care, custody, control, security,
and well-being during difficult times, and relied on defendant for his supervisory role.

392. The defendant, with the above knowledge, and being motivated by hate, had
knowingly used Plaintiff's trust and precarious situation, and Plaintiff's reliance on defendant,
to gain Plaintiff's trust, thus create an opportunity to intimidate and harass the Plaintiff.

393. The defendant knowingly and maliciously defamed the Plaintiff, and did so for his own
amusement in hopes others would inflict physical pain on Plaintiff and/or to cause severe
emotional distress to Plaintiff.

394. It is alleged the defendant at all times relevant, intended to cause foreseeable harm to
Plaintiff in retaliation for Plaintiff exercising his Constitutional rights.

395. At all times relevant, and as stated elsewhere in this complaint, the defendant had a
sworn duty and had entered into a contract for the benefit of Plaintiff, to provide care,

custody, control, security, and well-being, and withheld all of the above for the sole purpose of

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instilling fear in the Plaintiff.

396. The defendant, has, and continues to withhold said provide care, custody, control,
security, and well-being, thus breaching his agreements/contracts - written, express and
implied - and those which Plaintiff fully relied upon.

397. As a direct and proximate result of defendant's actions and omissions, the Plaintiff
went into a deep depression - a state of mind from which Plaintiff continues to receive
treatment and has yet to recover from.

398. At all times relevant, and as stated elsewhere in this Complaint, the defendant owed a
duty of care to Plaintiff, knowingly his statutory obligations as a sworn officer, and/or through
written/oral contracts made to provide said care, custody, control, security, and well-being.

399. Plaintiff avers that the defendant had so betrayed Plaintiff - had knowingly and
intentionally left Plaintiff so destitute - that such conduct cannot be tolerated in a civil society.

400. Defendant knew by leaving Plaintiff to suffer without provide care, custody, control,
security, and well-being, the Plaintiff. would not secure a proper emtoionally stable future,
which may drive the Plaintiff to attempt suicide.

401. Defendant's conduct was so outrageous and extreme, that defendant had to know it
would devastate Plaintiff to the point of causing severe emotional distress to push him to the
point of suicide, and did so with such knowledge - and with a cold and callous heart - despite
knowledge of Plaintiff's already documented precarious mental and emotional state caused by
dealing with the stress of managing incarcerated life, and that of which no reasonable man
could be expected to endure under the circumstances from which Plaintiff existed.

402. Defendant knew that withholding care, custody, control, security, and well-being,
would cause foreseeable harm to Plaintiff, and that such harm would cause Plaintiff great
anxiety, and did so notwithstanding.

403. Defendant's conduct was so outrageous, and in reckless disregard for Plaintiff's
feelings, dignity, and/or fundamental rights as a human being.

404. Defendant's actions were such that they so shocked the conscience and has no place

in our society as defendant's actions and/or omissions also constitute a crime.

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405. Defendant's conduct, as set forth herein and throughout this Complaint was so
outrageous in character and so extreme in degree as to fall outside the bounds of decence and
is to be regarded as intolerable in the community.

406. Defendant's negligent and reckless course of conduct placed Plaintiff in continual fear
and caused him severe emotional distress.

407. Plaintiff's physical injuries include, but are not necessarily limited to, panic attacks,
self-harm, embarrassment, humiliation, © harassment, intimidation, — ostracization,
GastroEsophageal Reflux Disease (GERD), Post-Traumatic Stress Disorder (PTSD), hypertension,
heart palpitations, chest pains, constipation, anxiety, worry, depression, insomnia, a complete
disfunction of Plaintiff's circadian rhythm, loss of enjoyment of life, damage to reputation,
mental anguish and distress.

408. By engaging in the acts described herein and throughout this Complaint, defendant
engaged in extreme and outrageous conduct and intentionally inflicted severe emotional
distress upon Plaintiff.

409. As a direct and proximate result of the acts and/or omissions of defendant as set forth
herein and throughout this Complaint, Plaintiff has in the past been required, and may in the
future require, medicine, medical care, psychological care, psychiatric care, and other
treatment in order to cure himself of the injuries he has sustained; has in the past been
obliged, and may in the future be obliged, to expend various sums of money for such medical
care and treatment.

410. As a further direct and proximate result of the acts and omissions of defendant, as set
forth herein and throughout this Complaint, Plaintiff has been caused to suffer severe
emotional distress, humiliation, embarrassment, and financial loss.

411. As a result of the actions and omissions of defendant, Plaintiff suffered injuries,
required medical treatment, and in the future will continue to need such medical treatment,
lost time from work, and resultant lost wages, and suffered the fear and embarrassment
associated with said injuries.

412. As a direct result of defendant's negligent infliction of emotional distress, Plaintiff

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sustained shock and injury to his nerves, nervous system, and other severe and serious injuries,
all of which are or may be permanent in nature.

413. As a direct result of defendant's negligent infliction of emotional distress, Plaintiff has
suffered and will continue to suffer great pain, embarrassment, mental anguish and loss of the
enjoyment of life.

414. As a direct result of defendant's negligent infliction of emotional distress, Plaintiff has
expended and will be required to expend large sums of money for medical services and
treatment of the injuries described herein and throughout this Complaint.

415. Asa direct result of defendant's negligent infliction of emotional distress, Plaintiff has
been and will be deprived of earnings.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT XXII - OUTRAGEOUS CONDUCT

RESTATEMENT (SECOND) OF TORTS; 42 U.S.C. §1983

416. Plaintiff repeats and re-alleges each and every allegation contained herein and
throughout this Complaint with the same force and effect as if set forth herein at length.

417. The actions and omissions of the defendant were so outrageous, willful, wanton and in
reckless disregard to the health and well-being of Plaintiff as to entitle Plaintiff to punitive
damages.

418. As a direct and proximate result of defendant’s negligence and willful and wanton
conduct, Plaintiff has incurred physical ailments as set forth throughout this Complaint.

419. As a further direct-and proximate result of defendant's negligence and willful and
wanton conduct, Plaintiff has suffered and continues to suffer permanent injuries as set forth

throughout this Complaint.

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WHEREFORE, Plaintiff. demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT XXIII - GROSS, WILLFUL AND WANTON MISCONDUCT

RESTATEMENT (SECOND) OF TORTS; 42 U.S.C. §1983

420. Plaintiff hereby incorporates each and every paragraph supra, with the same force
and effect as if set forth herein at length.

421. The defendant is liable to the Plaintiff for his gross, willful, and wanton misconduct in
his fraudulent misrepresentation as a provider of care, custody, control, safety, security, and
well-being to Plaintiff, as well as concealing the detrimental aspects of Plaintiff's true work and
personal ethic.

422. As a-result of the gross, willful, and wanton misconduct of defendant, Plaintiff. is
entitled to punitive and compensatory damages.

WHEREFORE, Plaintiff. demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for. pain and suffering, and mental and emotional anguish, together with costs,
attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

relief this Honorable Court deems appropriate.

COUNT XIV - PUNITIVE DAMAGES

RESTATEMENT (SECOND) OF TORTS; 42 U.S.C. §1983

423. Plaintiff hereby incorporates each and every paragraph supra, with the same force
and effect as if set forth herein at length.

424. At all times relevant, and as stated elsewhere throughout this Complaint, the

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defendant had through and by deception and fraud, carried out an outrageous betrayal of
trust, did so by retaliating against and defaming Plaintiff for the sole purpose of causing injury
to Plaintiff.

425. The defendant engaged in conduct as described elsewhere in this Complaint, that was
so outrageous, that it is incompatible with the moral standards of today's society.

426. The defendant's intentional retaliation, slander and libel was intentional, pre-
meditated, contrived, and done by building years of trust while supervising Plaintiff, and then
effectuating a scheme to defame and injure Plaintiff.

427. By engaging in the acts set forth herein and throughout this Complaint, defendant
intentionally, willfully, and wantonly inflicted foreseeable harm upon Plaintiff.

428. Defendant should be punished for the acts set forth herein and throughout this
Complaint so that defendant and all others who may come to know the events cited will never
again be tempted to engage in such acts or conduct.

429. The negligence and breaches of defendant as set forth herein and throughout this
Complaint were reckless, outrageous, wanton, willful, and in knowing disregard of and for the
care, custody, control, safety, security, and well-being of Plaintiff.

430. The actions of defendant as set forth herein and throughout this Complaint were
reckless, outrageous, wanton, willful, and in knowing disregard for the value of human life.

431. Defendant is liable to the Plaintiff for his gross, willful, and wanton misconduct in his
misrepresentations, which was intended to, and did deceive the Plaintiff into his false sense of
care, custody, control, safety, security, and well-being of Plaintiff.

432. The defendant's intentional conduct rose to a level that it should be met with the full
force of the law, including punitive damages, as a deterrent to said defendant and other
would-be fraudulent fiduciaries of care, custody, control, safety, security, and well-being.

WHEREFORE, Plaintiff demands judgement against defendant for an amount to be
determined by jury upon this Count, including nominal, compensatory, and punitive damages,
with damages for pain and suffering, and mental and emotional anguish, together with costs,

attorney fees, pre- and post-verdict interest, delay damages, single-cell housing, and any other

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relief this Honorable Court deems appropriate.

VIIL JURY TRIAL DEMAND

433. Plaintiff demands a jury trial on all issues and counts so triable.

Respectfully submitted,

=~ Zl \
Dated: November 20, 2024 PB SGD Vow PSO
Brian Thompson/JQ-0773
(Mail By Defendants)
SCI-PHX
P.O. Box 33028
St. Petersburg, FL 33733

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EXHIBIT ‘A’

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DC-804 Os COMMONWEALTH OF PENNSYLVANIA. FOR a0) Is, USE
“Part DEPARTMENT OF CORRECTIONS ie
: ee NUMBER .

OFFICIAL INMATE GRIEVANCE ©

TO: FACILITY GRIEVANCE COORDINATOR. .._—*'| FACILITY: | DATES
Me.0WNesS fysopiAsde SCT ~ PROENTX APL eves
FROM: (INMATE NAME", NUMBER) __ "| -SIGNATURE OF INMATE:
BRIAN THOMPSin , JOO774 ~FV4 wot borate CS?
‘WORK ASSIGNMENT. en HOUSING ASSIGNMENT. vee gon
BEAVY: DUTY BLK WORKER, Beh UST - . FR 202T-04

INSTRUCTIONS: © nS wo is

1. Refer to the DC-ADM: 804-for procedures on the inmate grievance: system.

2. State your grievance in Block A in a brief and understandable manner.

3. List in Block B any action you may have taken to resolve this matter. Be sure to include the identity of
staff members you have contacted. :

‘A. Provide a brief, clear statement of ' your grievance. Additional paper may be. used, maximum {wo -

|... pages (one, DC-804 form and one one-sided 81%" x 11" page). State all relief that you are sek, pes
Grievant Ciles this grievance in Geod-Faith, #iifi toe expectations Gf no reta ion |

belna taker avginst. agin an any way, ‘ahape or fern per pe rules ef De-804 (ID, i. a

Bogus Misconduct either new er in the’ future, trunsfer. to. another jousing. Unit or
Facils ity, change af hork Assigimant, fs. Grievanne ds filet as a violation. of

Grievant! s First Amendment claht apgainat 3 retaliation, and. Preadan Of Speech. we
On Mara 25, 2025, when gviavaul received his breakfast tra y. Grievant went to 6 table-
the keay for ptopery content. Ag ae evant was checking the tray, Set. Safa
au veiled at. gesevant to, ‘take Tt te youn sell.” Gelevant ceplied that,
a avieve anes For sereaiting . “and -yelli m at me. Ser, mats f sale, - "oy :
i 26 efter the morning arpevgnt posted the button |
of Als Work -Assiérmes SP ae artevant® g-dorl fe oc
Hath. oe too tlac-cama due fo get preakiast | arievant agked COT ‘balgon, “Nay

"you apen” tae door woe PT pushed the but te ‘on so T-cald Sone auth fo work? Col

a 1 asked aetievant,, whee de you wacky" ileveant stated, “7 am a Bloek Worker. Myo].
andl pleture ars. in the Block Workers jock.” COT watson graboad the Pook and |.
started Looking at th peeve ant, “what shilt de you woke? Pop”

peak ures a She ales! 2B poke
bated, G:00amn « 42: Opin As, COT saison was looking at plotue eS She wad shakiig
: t

het : AS ia “ho yous pitture ten’t La the BOOK, Ll asked er a Toe Bhoek |

workecd’” COT wakeon “said, “No, your picture, none ain't in the book.” fy this, T have - out.

B. List actions taken and staff you have contacted, before submitting this grievance. o ee ane
oe AAR

i Spo! Ke EG Light Manager ; eld wha on 3/28/22 regacdd og this matter.

Your grievance, has been (epee and w will be e processed in: accordance ‘with DC-ADM 804. me TT
i

wa Ay , ; Bo . os eS a
SAA Add oe AY

Signature of Facility Grievant, Coordinator

WHITE Facility Grievance Coordinator Copy ‘CANARY File 2 Copy - PINK Action Return Copy
GOLDEN ROD Inmate. Copy . Se as

DC-ADM 804, Inmate Grievance System Procedures Manual SA as

_ Section 1 - Grievances & Initial Review. : _ "Attachment 1-A
Issued: 1726/2016 : we - : :
Effective: 2/16/2016

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( Continued ~ Page 2 )

been summarily fired on Wednesday, 3/30/23, my day off. [I am formally requesting
that the "F-B Unit" video of 3/30/23 be saved. ] :

Grievant's picture and name have been in the Block Workers Book since I came into
Phoenix on July 14, 2018. T've been a Block Worker on F-B Unit ever since. I work on

my days off (Wednesday & Thursdays). I sweep and spot mop on Wednesdays, on Thursdays

T help Gut with the floors as well. I urge the Grievance Coordinators, Superintendent on
or others involved in this matter to view the video for the month of March. I am not
problematic. I have not had a Misconduct nor been in the RHU im 17% years. I've been
volimieering on my days off for years to help keep the Unit clean. The video from

each month and year will prove that. There is no question that Sgt. Safa retaliated
against grievant for saying. "I'm filing a grievance for yelling at me." I was
punished for exercising my First Amendment Right te Freedom of Speech. Sgt. Safa has
violated: the Code of Ethics, Sections (A)(1), (B)(1)(10)(22)&(29). Grievant can show

a nexus; a causal link of events that happened. Only after grievant. said wnat he said

to Sgt.-Safa, was when grievant was demoted, fired and/or taken off the Block Workers
roster/list and his picture and name removed from the block Workers book. The timing CES
proves this. Additionally, grievant filed a grievance against Sgt. Safa on 3/29/23.

Grievant has not broke any Department or Facility rule. Nor was grievant issued any.
__.@lass (1)or Class (2) Misconducts, no Formal or Informal Resolution hearing, No
Warning, No Reprimand, No loss of any privileges and/or any reason or justification
as to why grievant’s name and picture was taken out of the Block Workers Book.
Grievant was never told why he was denoted and/or fired. Grievant was punished for

~~ erercising his rights and for -fitine-a-erievance:—Adninistration—is..fully—avare_of__
Set. Safa’s problematic, disrespectful and unprofessional behaviors. Sgt. Safa has
been removed from numerous Housing Units and had numerous grievances filed against
him. Grievant has spoken with inmates who are willing to provide grievant with
affidavits, copies of grievances they filed against Sgt. Safa which substantiates his
behaviors, and said inmates are willing to come to court to testify. Additionally, a
causal nexus exists in the events which happened in that Grievant was the only Block
Worker, demoted, fired, etc. My worker status was the only worker changed. Begging

the question, “why didn't any other block worker's status change?™ ss

Stated relief I am seeking:

I request a thorough and complete investigation into the retaliatory actions taken
against and the mistreatment of Grievant. I'll be requesting The Office of
Professional ‘Responsibility (OPR) and other impartial individuals investigate this
matter. I am requesting that Sgt. Safa be removed from this Housing Unit by Unit
Manager, Baldwin, or other Superior Officer and be reassigned to an appropriate post
as soon as possible. Additionally, grievant seeks $250,000 in compensatory damages ,
$250,000 in punitive damages, including all other damages allowable under law. Both
jointly and severally, including any cost of litigation, court cost, delay damages,
and/or attorney fees. Lastly, I request full compensation for all days missed, days _
off, and to be inmediately returned to ny. Work Assignment to include my name and
picture be placed back in the Block Workers book. [Grievant demands that the video
footage from F-B Unit on the morning from 7:00am - 7:45am from March 30, 2023 be

“preserved as it constitutes evidence in this imminent litigation. |

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EXHIBIT 'B'

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Initial Review Response

‘SCI Phoenix
1200 Mokychic Drive _
Collegeville, PA, 19426

04/19/2023 01:40

innate ames" THOMPSON, BRIAN BE gage Tee ! |
‘Facility: Phoenix _ Unit Location: F/B
Grievance #: 1027496 ee Sod f

“This's serves: sto acknowledge recelpt of “your grievance sto the assigned: Grievance- Officer. The response is.as follows:,.

nares: AIREY Cagrar mere reer atte staat eae CW geet AUG ETE ode wet

Decision: Gilevarice Dénied-

It is the decision of this Grievance Officer to uphold, deny, or uphold in partideny in part the inmate's initial
grievance. This response will include a brief rationale, a summary of the conclusion, any action taken to -

resolve the issue(s) raised in the grievance, and the relief sought.

TH ARERR EE RA AMEE GUEST Os FLEES NGO EE BATE a eet

hie oh wey hee aee ere ete

Response: Doi, Te Ee me

|
|

After speaking with both you and Sgt Safa ‘it was explained that you were e not fired and that due to the amount of
[" ‘workers that are-on the unit there was-a- rotation and-that you-were still- “going: to-be-utilized but in more-limited

; Continuing t ‘to be paid and that was not an acceptable answer for: you and you demanded to still be out of your ‘cell

| -eveiroir your days off. - eee : x Sri
|

!

w Frivolous: oe
the tier the inmate is housed onis eating in the cell and was supposed to receive his tray and report back to his cell

.and inmate attempted to sit at the table and was told to return to his cell. Inmate was not fired he was Just, told thathe

ade © wa:
"was doing to be used more limited and not be allowed fo Work on “his s days off.

 compacity:to: get:other. people out working.and to: ‘allow-you-your- days -eff-from-being a block worker,-with-you' still sos teefe en

‘Signature: : Oy nes oS vee

Name: a os MoGefferty

“Files” . ne : me
Tee Approver: be : le
- Bates + semen Ee “pil 49, 2023" OTR - .

CC: Facility Grievance Coordinator” ee Se JS a as .

TO DOB

DG-ADM 804, Inmate Grievance System Procedures Manual

Section 1 - Grievances & Initial Review, Attachment 1-D Issued: 1/26/2016 - Effective: 2/16/2016
. JQ0773 Grievance #:1027496

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THOMPSON, BRIAN K :

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EXHIBIT 'C

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‘COMMONWEALTH OF PENNSYLVANIA | FOR OFFICIAL USE

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ee ‘Part. Ce as DEPARTMENT OF CORRECTIONS JOA2 12
os Sy SS coe, oO GRIEVANCE NUMBER
OFFICIAL INMATE GRIEVANCE 2 oe
TO: ‘FACILITY GRIEVANCE COORDINATOR ~——*| FACILITY: DATE:
ae oe AS SCI-PHOFNIX 5/1/2023
is FROME “INMATE NAME & NUMBER) ~ | SIGNATURE OF INMATE: |
BRIAN THOMPSON, JQ0773.. | “Buda thom RSea/
mo WORKASSIGNMENT: a - | HOUSING ASSIGNMENT: se
HEAVY. DUTY. BLOCK WORKER | . a F-B~2027+O1

Le INSTRUCTIONS:

oe 1: Refer to:the: DC-ADM 304 for procedures on the inmate grievance , system.

12, State your grievance. in:Block A in a brief and understandable manner.
3. List in: Block B any action you may have taken to resolve this matter. Be sure to include the identity of :
“staff: members you have contacted. a

oo : x Provide a brief, clear statement of your grievance. Additional paper may be used, maximum two: .

ay Grievant. files

“pages (one DC- 804 form and one one-sided 8%" x 11" page). State all relief that you are seeking.

‘being taken against me in any way, shape, or form per the rules of DC-ADM 804(H), |

| die.j bogus misconduct either now or in the future, transfer to another housing unit |

Or facility, change of work assignment, etc. Grievance is filed as a violation of
grievant’ 'S First Amendment Right against retaliation; Eight Amendment. Right against

os & ‘being subject to cruel and unusual punishment; and the Fourteenth Amendment Right to

due ‘process and equal protection under the laws. This and aforementioned for not

a being treated equal as. the rest of the similarly situated Block Workers.

-| ghecked and said no, thece ace no deductions. She then handed me a DOG memo for

UES. sked Ms. Roulhac to check my. account. to. pee if there had been an
’ daduktions for <i attorney, because Io had thailed hin” some dodwients. Ms. Row

- 8 attorney-client. phone eall I had coming up this week. I asked Ms. Roulhaec about ay
-» | 4ob? She said, ‘“I:don't know what's going on with that situation." She went on to say.

|:that- I do “nave” your Work Report dated April 20, 2023, and Sgt. Safa gave you a
os negative eeport. I asked her for a copy. Ms. Roulhac said she couldn’ t give a me a copy .
"| and foe: me bo. ask ‘Ms. Raldein.

- See » Continued Page 2 ~

4 8. Uist actions taken and staff you have contacted, before submitting. this grievance.

i % 2 rs: Baas

a Your afievance has been raat af

rr processed in “accordance with DC-ADM yO

J) Ola

os ‘Signature: of Facility, Grievance Coordinator be “a Bate

me “WHITE: Facility ‘Grievance Coordinator Copy . _ CANARY File Copy PINK Action Return Copy

: GOLDEN ROD Inmate 6 Copy . oe

oS DC-ADM 804, Inmate Grievance System Procedures Manual

Section 1—- Grievances & Initial Review fay oes Attachment 1-A |
~ Issued: 1/26/2016.” Oe we

Effective: 2y6r2016 oe
Sts fups te ae

s grievance in good-faith, with the expectations of no retaliation | ee

| Of Apcil 26, 2023 grievant went into the counselor, Ms. Roulhac's, office during ae

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BRIAN THOMPSON, JQO773, F-B=2027-01, HEAVY DUTY BLOCK WORKER, GRIEVANCE 5/1/2023

~ Continued Page 2 -

On April 27, 2023, the next day, I saw Ms. Baldwin and asked her about my negative
Work Report and requested a copy. She said, "No IT can't give you a copy and she needs
to speak with Set. Safa.” Grievant never had a negative Work Report in 17% years.
-Set.-Safa only filed this negative Work Report.on erievant because I previously filed
exievances on him on 3/29/2023, 4/3/2023 & 4/15/2023, No.’s 102/316, 1027496 &

—— 8029617, respectively. Bringing the obvious-questton of "Why didn't Set. Safa file-a— ——

negative Work Report on me 6 er even S months ago. THIS IS RETALIATION!

Both Ms. Roulhac and Ms. Baldwin stated that they could not give me a copy of my Work
Report submitted by Sgt. Safa on April 20, 2023. According to DC-ADM 816 E USE OF

PERFORMANCE EVALUATIONS “One month from the £irst day on a work assignment, each ~
inmate shall be evaluated by his supervisor whe will use Form DC~48B, Inmate Progress

| 7Rapori. Thereafter, at the request ef the Unit:-Management Team, whenever the inmate ~

“is being considered for promotion/demotion, and at least once every twelve months, a
““weltten performance evaluation shall be made. Every rating is shown to and discussed

- -Twith-the—iomate;-who [SHALE] -be provided with- a-copy;—Each- form -shabl—be completed

-need a positive Work Report. This is.also why Lt. McCafferty and Sgt. Safa refuse to
allow me to work. I am formally requesting that ~- The video imagery of the Month of
March 2023 be preserved as (It will show me working each and every one of my assigned
work days, and also on Wednesdays & Thursdays ~ my days off). How can I have a
negative Work Report. I have an excellent attendance, good attitude, work habits and
additionally, I volunteer on my days off.

Sgt. Safa maliciously and intentionally filed a negative Work report demonstrating
his malicious intent and state of mind, further revealing his hostility and measures
of retaliation towards and against grievant. Sgt. Safa has committed a crime by
violating Title 18 § 4911 Tampering with Public Records or Information which states:
"A person commits an offense if he/she; knowingly make a false entry in, or false
alteration of any record, document or thing belonging to or received or kept by the
government .'’ Further he has violated The Code of Ethics (Section B-22) which states;
"Reports submitted by employees shall be truthful, no employee shall knowingly enter,
inaccurate, false or improper information in any DOC record." He has also violated
The Civil Service Act & Governor's Code of Conduct, #1980-18, a

I am filing a private criminal complaint with the Attorney General's Office, The
Governor's Office and The Office of District Attorney of Montgomery County. Seeking
relief: (1) To be compensated $250,000 dollars in compensatory damages. (2) Sgt. Safa
be removed from (F) Housing Unit and reassigned to a more suitable post and be
temporarily suspended without pay for his conduct and violations as allowed under the
rules of The Civil Service Code(s) of punishments. (3) The falsified Work Report
dated 4/20/23, submitted by Sgt. Safa be preserved as it is evidence in this matter.
(4) Following investigation, review and resolution, I request a corrected (‘positive'
Work Report) be filed by Ms. Baldwin or appropriate staff and a copy of both, the
falsified and corrected, Work Report(s) be provided to me.

= Fad =

_ and .cover these . subjects:._attendance, attitudes, comments by. the superwisor, _ -

“~="Sets—Safa, intentionally Filed a negative Work Report on esrievant as retakiation and—————
a a 3 * fe ak

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EXHIBIT 'D'

Case 2:23-cv-04742-PD Document 27 Filed 11/22/24 Page 70 of 76

Initial Review Response

SCI Phoenix
1200 Mokychic Drive
Collegeville, PA, 19426

05/12/2023 09:51

Baeilty: 2 On er en UL eS noe ee
[Grievance ft: 1029617 |

This serves to acknowledge receipt of your grievance tc 5 the © assigned Grievance Office icer, The r response is as follows:

‘Decision: Grievance Denied

i _ Itis the:decision of this: Grievance Officer to uphold, deny, or uphold i in part/deny | in part the: inmate's initial
- ©... grlevance. This response will include a brief rationale, a summmaty 0 of the conclusion, any action taken fo

| | resolve the issue(s) raised in the grievance, and the telief sought. -

Response:

Inmates are not retaliated against for filling grievances. | spoke with lieutenant McCafferty about the conversation you
say took place on the date in question. it's a staff members responsibility to speak with a person or inmate while
assigned a grievance to get the facts for a proper response. As for the statements you said the sergeant made about
you and your cellmate there is no way to substantiate your allegations at this time. No evidence of disrespect,
unprofessionalism, etc. Grievance Denied and no relief will be awarded.

: ‘Signature:
‘Name: K. Young
"Title: :
ono Approver: K. Owens he ~ .

“S50 “Pate: ue _ May 12, 2023-" ~~ ee

——— oe ‘Facility Griévance Coordinator. -
mo DC-15

DC-ADM 804, inmate Grievance System Procedures Manual
Section 1 - Grievances & Initial Review, Attachment 1-D Issued: 1/26/2016 Effective: 2/16/2016
JQ0773 Grievance #: 1029617

|
THOMPSON, BRIAN K Pageiof1

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EXHIBIT ‘E'

Case 2:23-cv-04742-PD  Document.27 Filed 11/22/24 Page 72 of 76

AFFIDAVIT

I, Michael Ortiz, being duly sworn, deposes and states the following:

1). The affiant avers that his legal name is Michael Ortiz, and is currently incarcerated at
SCI-Phoenix.

2). On April 12, 2023 at approximately 10:45 am, while on FB Housing Unit, I was talking
with Sgt. Safa, when I noticed Lt. McCafferty standing at the cell door of cell 2027. I asked Sgt
Safa, "what's going on up there"? motioning to cell 2027 and Sgt. Safa answered and replied,

"them two rats in 2-27 keep filing fucking grievances on me".

Respectfully submitted,

A, fog, = J mw mae
Lille f Chee) PR DS
Michael Ortiz QN-8742

1200 Mokychic Drive

Collegeville, PA. 19426

VERIFICATION

I, Michael Ortiz, have read the foregoing documents and hereby verify that the matters alleged
herein are true, except to those matters alleged upon information and beleif, and, to those matters
I beleive to be true. I certify under the penalty of perjury that the foregoing is true and correct to

18 Pa. C.S.A. § 4904; 28 U.S.C. § 1746.

Respectfully submitted,

Michael Ortiz QN-8747/ MAO
1200 Mokychic Drive °
Collegeville, PA. 19426

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EXHIBIT ‘F'

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* DC-804 : _ COMMONWEALTH OF PENNSYLVANIA [FOR OFFIGIALUSE
S Partt DEPARTMENT OF CORRECTIONS TJo206TL

. _- | GRIEVANCE NUMBER
OFFICIAL INMATE GRIEVANCE __- a .
TO: FACILITY GRIEVANCE COORDINATOR FACILITY: = DATE: _ sd
11S OWENS | Ser- PHoemyy. 4-18-83.
FROM: (INMATE. NAME & NUMBER) . SIGNATURE OF INMATE: a
EUAN THemPSon ~ TA-O773 “WA Balam, Wao DSc!
WORK ASSIGNMENT: oe HOUSING ASSIGNMENT: !
Block ToB FB- 2037
INSTRUCTIONS: . a
: 1. Refer t6 the DC-ADM 804 for procedures on the inmate grievance system.
: 2. State your grievance in Block A in a brief and understandable manner. oe
_3. List in Block B any action you may have taken to resolve this matter. Be sure td include the identity of
staff members you have contacted. - . ey — OS
| | A. Provide a brief, clear statement of your grievance. Additional paper may be used, maximum two: pide 2).
bo pages (one DC-804 form and one one-sided 8%" x 11" page). State all relief that you are seeking. ~~~ |
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Teel mut HEB 3498S hearh SET SALAS N Ye NeleThér abasAl€, Flos Gey |
(NIT Are Cals, They filed Grievances exh Me-THS Ayit Hearsay This is

B. List actions taken and staff you have contacted, before submitting this grievance." 7

Spoke SET. Webb

| __- Signature of Facility Grievance Coordinator

|
te

Your grievance has a will be processed in accordance with DE-ADM 804. oe

: ‘WHITE Facility Grievance Coordinator Copy CANARY File Copy PINK Action Return Copy a
i, GOLDEN ROD Inmate Copy a OR pe

DC-ADM 804, Inmate Grievance System Procedures Manual ~ BE ea yy Mas st dl i ra
Section 1- Grievances & Initial Review _- ot ne Attachment 1-A

Issued: 1/26/2016 _-- ‘ oe ° oe BR ts

Effective: 2/16/2016 oe

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